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               EXHIBIT 3
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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

BRIANNA BOE, et al.,                    )
                                        )
       Plaintiffs,                      )
                                        )
UNITED STATES OF AMERICA,               )
                                        )
       Intervenor Plaintiff,            )
                                        )
v.                                      )   Civil Action No. 2:22-cv-184-LCB
                                        )
HON. STEVE MARSHALL, in his             )
official capacity as Attorney General   )
of the State of Alabama, et al.,        )
                                        )
       Defendants.                      )


                     SUPPLEMENTAL EXPERT REPORT OF
                           JAMES CANTOR, PH.D.
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     1.      I have previously submitted my report, dated May 19, 2023, as an expert witness in

this case (“Cantor Report”). Since that time, substantial additional materials have become

available pertinent to my testimony in this case. This supplemental report contains my

assessments of these additional materials as they relate to the opinions that I have previously

rendered in this case. My updated curriculum vitae is provided as Appendix C to this report.

     2.      These materials include internal documents provided by WPATH under subpoena,

which remain under a protective order of the court, and which I discuss in my separate Appendix

A. In addition to the WPATH documents, I have reviewed other recently-published materials

that are directly relevant to my previously rendered opinions including: new peer-reviewed

studies published in the research literature, systematic reviews updating the contents of the

scientific literature, and the policy changes and conclusions increasingly offered by international

authorities and recognized topic experts.


I.        New research, employing methods superior to prior investigations, reports that
          transition failed to improve mental health indicators.

     3.      In my previous report, I offered analysis and opinions on the body of research looking

at the impact of social transition on desistance (Cantor Report, Section IX.B.) and on suicide and

suicidality, particularly in the context of gender dysphoria (Cantor Report, Section X.).

Important peer-reviewed publications since the date of my prior report further confirm my

conclusions.

     A. Morandini et al. (2023): Social transition is not associated with improvement in
        mental health.

     4.      Until recently, studies of the social transition of minors used only subjective

descriptions of their mental health—either the self-reports of the socially transitioning youth or

reports from their parents. Often, these studies relied not merely on self-reports, but on self-



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reported retrospective memory—that is, subjects’ recollections of how they felt at prior times.

Those studies yielded contradictory results: Some reported social transition to be associated with

improved mental health and well-being (e.g., Kuvalanka et al. 2017; Olson et al. 2016), and

others reported a lack of improvement (e.g., Sievert et al. 2021; Wong et al. 2019).

    5.       The first study of the mental health impact of social transition based on objective and

contemporaneous assessments conducted by professionals has now been published in the peer-

reviewed literature: Morandini et al. (2023) is a study by a team of co-authors including one

from the gender dysphoria clinic at Vrije University, Amsterdam (a widely recognized source of

the most-cited literature in support of medical transition of minors). The authors examined

“whether children and adolescents diagnosed with gender dysphoria who socially transitioned

showed fewer psychological difficulties than those (also with gender dysphoria) who were still

living in their birth-assigned gender.” (Morandini et al. 2023 at 1052.)

    6.       The study improves on prior studies in multiple aspects, including the use of objective

and comprehensive mental health assessments conducted by professional clinicians instead of

only subjective self-reports; having a larger sample for analysis; conducting separate analyses

for: i) the prepubescent versus adolescent age youth, ii) the male-to-female versus female-to-

male transitioners, and iii) living status (biological sex or adopted gender) versus the names used

(birth name versus new name). Ultimately, the analyses identified no significant differences in

any of the mental health indicators (mood disorders, anxiety disorders, or suicide attempts).1

    7.       The researchers concluded that, for children and adolescents diagnosed with gender

dysphoria:


1
  The study noted a single potential exception among the 12 analyses conducted, suggesting the possibility that,
among the male-to-female transitioners, when social transition was defined as living status, the frequency of mood
disorders might have been lower. Subsequent analysis, however, suggested that to be a statistically spurious finding,
“as more sensitive analyses that treated age as a continuous rather than as a categorical variable, failed to support
that finding.” (Morandini et al. 2023 at 1053.)


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          Overall, there were no significant effects of social transition or name change on
          mental health status. (Abstract.)

          Living in role and birth-assigned gender were not associated with mood, anxiety,
          or suicide attempts. (at 1052.)

          The present findings, although preliminary, suggest that social gender transition is
          not associated with mental health status in children and adolescents, at least in the
          short term. These findings are consistent with the only other study that directly
          compared clinic-referred youth experiencing gender dysphoria who had socially
          transitioned with those who had not. (at 1058.)

    8.       In the report of their results, the researchers also warned against over-interpreting or

over-simplifying their findings. Although their study represents an improvement on prior studies

analyzing social transition, I agree with these researchers’ reminder that cross-sectional evidence

such as theirs can be superseded in the future by studies using still superior methods, such as

randomized, controlled trials (RCTs), as explained in my initial report. (Cantor Report, Section

III.C.)

    B. Glintborg et al. (2023) and Kaltiala (2023): Two large and relatively high quality
       studies find no mental health benefit from medicalized transition.

    9.       In my prior report, I provided analysis on the then-existing cohort studies examining

medicalized transition. (Cantor Report, Section XIII.) Since then, two new large and important

studies have been published, one out of Denmark (Glintborg et al. 2023), and the other out of

Finland (Kaltiala et al. 2023).

    10.      Each of these studies examined the medical and mental health records of all patients

within their respective countries who were diagnosed with Gender Identity Disorder (Denmark)

or referred to the centralized national gender identity clinics (Finland) across a large number of

years (3812 patients across 21 years in Denmark, in Glintborg et al., and 3665 patients across 28

years in Finland in Kaltiala et al.). This method avoided the severe limitations caused by

selection bias, as well as the small samples sizes of many studies in this field.



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   11.     Both studies measured mental health of subjects and controls across time based on

clinical records. Because of the centralized administration of the Danish and Finnish public

healthcare systems, the researchers had a relatively complete medical database available for

analysis. This method avoided the limitations associated with self-reports and memory that I

have detailed in my prior report (Cantor Report, Section IV.).

   12.       In both studies, before beginning medicalized transition (with cross-sex hormones)

people diagnosed with or referred for gender dysphoria exhibited extremely elevated levels of

other mental health issues, consistent with prior studies. Overall, Glintborg et al. found that

“[Metrics of poor mental health] were stable after initiation of gender-affirming hormone

treatment, without sign of decrease after date of first prescription of gender-affirming hormone.”

(at 342:2.) Kaltiala et al. similarly found that “the proportion requiring specialist-level

psychiatric treatment actually increased more among those who underwent medical GR [gender

reassignment]” as compared to otherwise comparable patients who did not, and reported that

their “findings . . . do not suggest that medical GR interventions resolve psychiatric morbidity

among people experiencing gender distress.” (at 6:1.)

   13.     In Glintborg et al., analyses of the rates of psychiatric diagnoses before versus after

medicalized transition revealed: At year one, post-transition rates of psychiatric illness greatly

increased beyond their already elevated levels, relative to the non-transsexual control groups. By

year five, psychiatric illness rates remained highly elevated, but approximating the level of

elevation from before medicalized transition, relative to the control groups. Analyses of the rates

of psychiatric medication use found that the gender dysphoric subjects exhibited greater use of

psychiatric medication before transition relative to controls, and that this higher reliance on

psychiatric medication had increased further one year after transition, and further still by year




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five.

    14.      In Glintborg et al., the people undergoing medicalized transition were age 15 and

older (1,142 people under age 18, and 2,670 people age 18 or older). The researchers noted that

they conducted their analysis both with and without people under 18, and they found the results

not to differ.

    15.      Consistent with the conclusions in my prior report, these data demonstrated that

(1) people with gender dysphoria have extremely elevated rates of other mental health issues,

(2) medicalized transition is not followed by improvement in mental health, and (3) in the year

after transition, mental health worsened. Glintborg et al. noted the possibility that undergoing

the mental health assessments required before medicalized transition is what caused the apparent

increase in rates of psychiatric illnesses recorded. They did not, however, include the alternative

possibility that the increase followed from transitioners’ realization that the interventions were

not resolving their mental health issues and that the subsequent improvements (when observed at

all) followed from the increased use of psychiatric medication they were also receiving to

address the psychiatric issues directly.2

    C. McGregor et al. (in press) compared gender dysphoric youth who did versus did not
       receive puberty-blockers, but extensive differences between the samples confounded
       the results.

    16.       McGregor et al. (in press), a currently in-press article, purports to show that

medicalized transition is associated with better mental health scores, contrary to my conclusions

in my prior report. The study identified itself, correctly, as a “retrospective cohort” study.

Retrospective cohort studies are faster and less expensive to conduct than prospective cohort



2
 I also observe a continuing drumbeat of anecdotal reports by detransitioners that medicalized transition did not
improve their preexisting mental health problems. See, e.g. the several detransitioners’ narratives reported in Pamela
Paul, As kids, they thought they were trans. They no longer do., New York Times, February 2, 2022.


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studies, but provide less conclusive and more ambiguous results. Prospective studies identify a

sample and follow them up again later to analyze what features changed among the participants,

whereas retrospective studies select the participants at the end point and then go back to examine

hospital or other records to explore what features differed at the beginning.

   17.     The McGregor study was conducted at the Gender Multispecialty Service (GeMS)

program of Boston Children’s Hospital. As noted in the study, the GeMS program assesses the

mental health of children twice: once, prior to approving them for puberty-blocking medication,

and a second time, prior to approving them for cross-sex hormone treatment. Also as noted in

the study, adolescents already too old for puberty-blocking medication (i.e., past Tanner Stage 3)

receive only the latter assessment.

   18.     Unfortunately, the analysis conducted and reported by the McGregor team was so

flawed as to be meaningless: They compared the 40 children who sought and received puberty-

blockers and are now seeking cross-sex hormone treatment (i.e., children who were assessed and

passed the mental health screening) with the roughly 400 adolescents seeking cross-sex

hormones who had not yet been screened for mental health at all. As a result, one cannot validly

conclude that the greater mental health scores of the children receiving puberty-blockers were

caused by the puberty-blockers. This retrospective study has no means of ruling out the much

more logical conclusion that the children who received puberty-blockers only seem mentally

healthier because the less healthy ones had already been screened out of that set.

   19.     Another fatal error of McGregor et al. is that they compared childhood-onset gender

dysphoria with adolescent-onset gender dysphoria. As noted in my prior report, these represent

distinct patient populations with distinct features, which McGregor neglected to discuss despite

reporting the same distinctions. (Cantor Report, Section IX.C.) As summarized by the




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McGregor authors:

         These two groups were significantly different across all assessed demographic
         domains. The blocker population was significantly younger, more likely to be
         assigned male at birth, more likely to affirm a female gender, and more likely to
         identify as white. (McGregor et al. (in press) at 3.)

A comparison across two groups that already differ in so many potentially important ways is

necessarily uninformative: As the authors correctly emphasized about their own results,

“causation [of the differences in mental health between the two groups] cannot and should not be

assumed.” (at 5.) Indeed, the authors reported that once they controlled for age, the correlation

they report between receiving puberty blockers and lower levels of suicidal thoughts disappeared

(at 6.). In sum, that the older ROGD group showed poorer mental health than the childhood-

onset group is consistent with the ROGD hypothesis presented in my prior report: for at least

many cases, ROGD represents an outcome mental health vulnerability.

   20.      I note that the McGregor et al. authors agree with a critical risk of harm detailed in

my initial report—that puberty blockers alone may permanently sterilize a child, stating that

“blockade impairs hormone-driven development of the ovaries or testes, and this may

substantially reduce or eliminate future fertility potential in the absence of experimental options”

(at 5, emphasis added.). The reference to “experimental options” is an oblique way of admitting

that reliable restoration of fertility after prolonged puberty blockade has not been demonstrated.

   D. Thompson et al. (2023): A new systematic review confirms the absence of reliable
      evidence that medical transition is a safe and beneficial treatment for gender
      dysphoric adolescents.

   21.      As indicated in my prior report, systematic review is the process employed by

Evidence-Based Medicine to prevent the cherry-picking of studies favoring one side of an issue

and helping ensure clinical decisions are based on the totality of the evidence. (Cantor Report,

Section III.) My prior report cited all the systematic reviews then available from the peer-



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reviewed literature and national health care systems that conducted them. (Cantor Report,

Section V.)

    22.       Since then, Thompson et al. (2023) published a new systematic review in the peer-

reviewed journal, PLoS Global Public Health, spanning the physical and mental health outcomes

of puberty-blocking medications, of cross-sex hormone administration, and of surgery

(primarily, double mastectomy) in adolescents between ages 12 and 18. The review employed

the widely recognized procedures for reducing bias, including: pre-registration (in the publicly

available PROSPERO database of systematic reviews) to prevent “publication bias”; explication

of its data extraction methods (employing the PRISMA guidelines), to prevent incomplete

assessments of studies; full disclosure of inclusion/exclusion criteria and a listing of all the

studies included and all the studies excluded (along with specifying which criteria excluded

studies failed to meet), to prevent cherry-picking of studies favoring any one conclusion; and a

standard criterion-based assessment of the risk of bias posed by each study it included.3

    23.       The Thompson review identified 19 relevant research reports from six countries. Of

the 19 studies, five reported on the mental health outcomes (benefits to mental health being the

goal of the physical transition). The physical health outcomes assessed were bone density, liver

enzymes, haemoglobin, glucose metabolism, lipid profile, and blood pressure—such risks to

physical health are among the harms which must be weighed against proven benefits to assess

treatment risk:benefit ratios.

    24.       This systematic review reiterated the conclusions of the prior systematic reviews:

          •   The evidence base for the outcomes of gender dysphoria treatment in adolescents is
              lacking. It is impossible from the included data to draw definitive conclusions
3
  Although the most widely used instrument for assessing risk of bias is GRADE, Thompson et al. used the Crowe
Critical Appraisal Tool (CCAT, version 1.4). The GRADE method focuses on the research methods used in
conducting a study, whereas the CCAT method includes several aspects about the article reporting those findings.
Thus, GRADE assessments emphasize the reliability of findings, whereas CCAT assessments also reflect the
introduction to and discussions of those results from that study’s authors.


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              regarding the safety of treatment. (at 2.)

          •   It is clear that we simply do not know enough about the observed phenomenon
              referred to as AOGD [adolescent-onset gender dysphoria], nor do we fully
              understand the huge increase in numbers of adolescents (and especially NF [natal
              females]) presenting for GD [gender dysphoria] intervention in recent years, nor the
              comorbidities and long-term outcomes. (at 42.)

          •   [A]s pointed out in the interim report for the Cass review…good quality evidence is
              most definitely still lacking. (at 42.)

          •   This review series has highlighted a lack of quality evidence in relation to adolescent
              GD [gender dysphoria] in general: epidemiology, comorbidity, and treatment impact
              is difficult to robustly assess. Without an improvement in the scientific field,
              clinicians, parents, and young people are left ill-equipped to make safe and
              appropriate decisions. (at 43.)

    25.       Regarding the levels of evidence of the existing research, Thompson et al. noted that

no survey studies were of sufficient quality for inclusion, that the pertinent studies are at the

“cohort study” level of evidence, and that no randomized controlled trials (RCTs) yet exist. As

quoted above, Thompson et al. called for improvement in the science of this question, and

included no indication that RCTs could not be conducted.

    E. Christensen et al. (2023): A new systematic review confirms my conclusion of
       insufficient evidence to conclude that medical transition reduces suicide or suicidality.

    26.       My prior report summarized the existing science on suicide and suicidality. (Cantor

Report, Section X.). Since then, Christensen et al. (2023) has conducted the first systematic

review of that research, which has now been published in the peer-reviewed journal, Child

Psychiatry & Human Development, and its results align with the conclusion in my prior report

that there is no evidence of sufficient quality to conclude that medicalized transition reduces

rates of suicide or suicidality.

    27.       Christensen et al. reviewed studies of preventing suicide in transgender youth ages 24

and under, including medicalized transition and other interventions (such as crisis intervention or

online media). The review followed well-established and high-quality review procedures,


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including the PRISMA guidelines for data extraction, and applying a criterion-based assessment

of the risk of bias posed by the included studies.

   28.       In total, Christensen et al. identified 17 studies, eight of which pertained specifically

to medicalized transition. These eight yielded only inconsistent results, with some, but not other

studies reporting statistically significant differences in rates of suicidality among medically

transitioned youth. That review confirmed the summary provided in my prior report and

reported that:

         •   Common flaws that created high risk of bias included self-reporting, lack of controls
             for comparability, small sample sizes, and lack of generalizability. (at 7.);

         •   Despite the pressing need for suicide prevention within this population, there has
             been a lack of high-quality evidence focusing on prevention of suicide amongst
             transgender youth. (at 7–8.);

         •   [N]o randomized controlled trials to date investigate the impact of interventions on
             rates of suicidal ideation and suicide attempt in transgender and gender diverse youth.
             . . (at 9.);

         •   [T]he overall quality of evidence is low, and the risk of bias is high. There is an
             urgent need for high-quality studies of interventions to reduce risk of suicide amongst
             transgender youth. . . (at 9.).

   29.       My own summary of the available science was that “No methodologically sound

studies have provided meaningful evidence that medical transition reduces suicidality.” (Cantor

Report, ¶ 148.) Christensen et al., after conducting a formal systematic review, reached the same

conclusion: “It is yet largely unproven what the effect of such interventions may be on rates of

suicidal ideation and attempt—let alone completion—amongst transgender and gender-diverse

youth” (Christensen et al. 2023 at 9.). The objective research evidence simply does not support

claims that medicalized transition represents a “life-saving” procedure.




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      30.      Importantly, of the 17 studies included in this review, only two existed before 2019.4

That is, both the Endocrine Society guidelines (published in 2017) and the AAP policy

(published in 2018) lack the benefit of the relevant studies nearly entirely. The published

systematic review conducted by WPATH (i.e., Baker et al. 2021) cited zero of these 17 studies.

      31.      Moreover, Christensen et al. reiterated the fact that there have been no RCT studies,

and called for high quality studies to be conducted (without any indication that it would be

unethical to conduct such RCTs). (Christensen et al. 2023 at 9.).


II.         Multiple new detransition studies confirm features consistent with the hypothesis
            that ROGD is largely a social contagion phenomenon.

      32.      As indicated in my previous report, respected national health care systems of several

countries have warned of the risk that medical transition of minors can lead to detransition and

severe regret due to irreversible physical harms. (Cantor Report, Section V.) Because

detransition (1) can occur several years after transition, (2) is not typically reported to the clinic

that provided transition (Littman (2021)), (3) thus cannot be distinguished by the clinic from

dropping out of a clinical study for other reasons, and (4) is not systematically tracked by any

centralized database in the U.S., reliable knowledge about the features and frequencies of

detransition cannot develop at the same rate as other aspects of study. The scientific study of

detransition has only just begun, with even the Version 8 of WPATH’s Standards of Care (SOC-

8) noting that basic information about detransition remains unknown (SOC-8 at S77.). In this

situation, it is unjustified and misleading to claim that the paucity of evidence suggests that rates


4
    Namely:
     Lytle, M. C., Silenzio, V., Homan, C. M., Schneider, P., & Caine, E. D. (2018). Suicidal and help-seeking
         behaviors among youth in an online lesbian, gay, bisexual, transgender, queer, and questioning social
         network. Journal of Homosexuality, 65, 1916–1933.
     Russell, S. T., Pollitt, A. M., Li, G., & Grossman, A. H. (2018) Chosen name use is linked to reduced
         depressive symptoms, suicidal ideation, and suicidal behavior among transgender youth. Journal of
         Adolescent Health, 63, 503–505.


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of detransition are low, rather than merely reflecting the difficulty of data collection and as a

result the greater the time that will be required for such research to be completed.

   33.      Scientific interest in this issue is extremely high, and evidence is only now beginning

to accumulate. In the comparatively short time since my previous report, many new studies of

detransition have appeared in the peer-reviewed literature:

         Littman, L., O’Malley, S., Kerschner, H., & Bailey, J. M. (2023). Detransition and
                desistance among previously trans-identified young adults. Archives of Sexual
                Behavior. doi: 10.1007/s10508-023-02716-1
         MacKinnon, K. R., Gould, W. A., Enxuga, G., Kia, H., Abramovich, A., Lam, J. S. H., &
              Ross, L. E. (2023). Exploring the gender care experiences and perspectives of
              individuals who discontinued their transition or detransitioned in Canada.
              PlosONE. doi: 10.1371/journal.pone.0293868
         MacKinnon, K. R., Kia, H., Gould, W. A., Ross, L. E., Abramovich, A., Enxuga, G., &
              Lam, J. S. H. (in press). A typology of pathways to detransition: Considerations
              for care practice with transgender and gender diverse people who stop or reverse
              their gender transition. Psychology of Sexual Orientation and Gender Diversity.
              doi: 10.1037/sgd0000678
         Sanders, T., du Plessis, C., Mullens, A. B., & Brömdal, A. (2023). Navigating
                detransition borders: An exploration of social media narratives. Archives of
                Sexual Behavior, 52, 1061–1072.
         Sansfaçon, A. P., Gelly, M. A., Gravel, R., Medico, D., Baril, A., Susset, F., & Paradis,
                A. (2023). A nuanced look into youth journeys of gender transition and
                detransition. Infant and Child Development, 32, e2402.
         Sansfaçon, A. P., Gravel, É., Gelly, M., Planchat, T., Paradis, A., & Medico, D. (in press)
                A retrospective analysis of the gender trajectories of youth who have discontinued
                a transition. International Journal of Transgender Health. doi:
                10.1080/26895269.2023.2279272
These empirical studies have employed a range of techniques to examine detransitioners’

characteristics, including semi-structured interviews, thematic analysis of social media sites, and

quantitative surveys using independently validated instruments.

   34.      The most scientifically rigorous of these is Littman et al. (2023). To recruit

detransitioners to participate in this peer-reviewed study, the researchers noted that “Efforts were

made to reach communities with differing perspectives about gender dysphoria, desistance,



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transition, and detransition” (at 60.). The study’s sample consisted of individuals 91% of whom

were biologically female, ranging in age from 18 to 33 years (mean of 24.9 years), and 81%

white. The majority of participants described themselves as politically liberal (68%), non-

religious (82%), and supportive of gay marriage rights (86%) and transgender rights (91%).

   35.      The results of this quantitative, peer-reviewed study confirmed the conclusions of the

qualitative studies interviewing detransitioners and prior survey studies: The majority of the

detransitioners reported that the phenomenon referred to as rapid onset gender dysphoria

(ROGD) correctly describe their experience (53%), with 23% indicating they did not know, and

24% reporting it did not. Co-morbid psychiatric diagnoses were acknowledged by the majority,

consistent with prior studies. Self-harm was extremely prevalent in the sample before and during

their period of transgender identification, 71% and 64% respectively. Interestingly (and urgently

calling for further research), self-reported self harm dropped radically to 23% among this sample

after they detransitioned and returned to a gender identity aligned with their biological sex.

   36.      The study results also supported the social contagion hypothesis of ROGD:

         Participants in the current study were asked if, at the time of transgender
         identification, they belonged to a friendship group where one or more members of
         the group became transgender-identified around the same time. The majority
         (60.3%) answered in the affirmative (with 24.4% referring to offline friendship
         groups, 14.1% referring to online friendship groups, and 21.8% referring to both).
         More than a third of participants responded that the majority of their offline and
         online friends became transgender-identified (34.6% and 38.5%, respectively) and
         participants acknowledged that their offline and online friendship groups engaged
         in mocking people who were not transgender-identified (42.3% and 41.0%,
         respectively). (Littman et al. 2023 at 68.)

It bears emphasizing this finding that more than a third of these (overwhelmingly female)

respondents reported that “the majority” of their friends at some point became transgender-

identified. In my opinion, this finding is entirely inconsistent with claims that transgender




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identity is innate and immutable, like sexual orientation, rather than influenced by social and

psychological factors.

       37.      Importantly, study participants were asked about the informed consent procedures

they received from the clinicians providing the medicalized transition services. The majority

(61.5%) reported receiving hormonal treatments from clinicians using only the informed consent,

rather than a gate-keeping model, and, although they received some information, the results

indicated that:

             66.7% felt they were inadequately informed about risks and 31.3% felt this about
             benefits. Only one participant (2.1%) reported that a clinician provided
             information about treatment alternatives to cross-sex hormones . . . 75.0% of
             participants reported that they received inadequate information about these
             alternatives, [and fewer than] one-tenth (8.3%) of participants indicated that they
             were informed by their clinician about the lack of long-term studies about natal
             females with late-onset gender dysphoria. Similarly, only 12.5% were informed
             that the risks, benefits, and outcomes for medical transition of late-onset gender
             dysphoric youth have not been well studied. (Littman et al. 2023, at 70–71.)

III.         New epidemiological evidence supports the hypothesis that ROGD is merely one
             symptom of a wide pattern of sharp declines in the mental health of especially
             female adolescents, corresponding with the increased social pressures introduced by
             social media in the smartphones era.

       38.      As noted in my previous report, the peer-reviewed evidence repeatedly differentiates

between the previous, well-established types of gender dysphoria (childhood-onset gender

dysphoria and adult-onset gender dysphoria; see Cantor Report, Sections IX.A. & IX.B.), and the

only recently observed pattern of adolescent-onset or rapid-onset gender dysphoria (ROGD; see

Cantor Report, Sections IX.C.).5 Some advocates reject the social contagion explanation of the

sudden epidemiological change, citing political, social, and therapeutic implications they claim




5
  One of the peer-reviewed sources I cited was Diaz and Bailey (year), published in Archives of Sexual Behavior.
After my report was submitted, that article was republished as:
    Diaz, S. & Bailey, J. M. (2023). Rapid-onset gender dysphoria: Parent reports on 1,655 possible cases. Journal
        of Open Inquiry in the Behavioral Sciences. doi: 10.58408/issn.2992-9253.2023.01.01.00000012


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follow from that conclusion (see Section XI.B. below); however no other interpretation has been

offered that is capable of explaining the evidence.

   39.     Since the preparation of my prior report, highly relevant new evidence has been

reported by multiple, highly reliable sources (including national surveys), that endorse the

patterns predicted by the social contagion explanation. Large quantities of mental health data

have been produced recently due to the interest in investigating the impact of COVID on public

mental health. What this research has repeatedly revealed is that, although there have been some

decreases in mental health indicators during the COVID era, the major decline began nearly a

decade before the COVID era (Villas-Boas et al. 2023) and instead corresponds with the new

ubiquity of smartphones and social media among adolescents.

   40.     As demonstrated by the following sources, each of these exponential changes has

occurred simultaneously and primarily within the same demographic group outlined in my prior

report: adolescent, biological females, with psychosocial vulnerabilities making them more

susceptible to social influence. Neither the claims of sexual minority stress nor any other

hypothesis apart from the new influence of smartphones and social media predicts or provides

any explanation for these several concurrent and ubiquitous patterns, below.

   A. Additional data show an exponential increase in gender dysphoria referrals
      coincident with the wide uptake of social media.

   41.     First, evidence from additional sources simply confirms the presence and timing of

the exponential increases in numbers of reported cases of gender dysphoria throughout the

industrialized world, as already noted in my previous report.

   42.     Australia: The Royal Children’s Hospital gender service reports the following data

on referrals to its gender service, with an exponential rise beginning in 2011–2012. (Bachelard

2023.)



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   43.     United Kingdom: In her interim report, Dr. Cass provides the following data on

referrals for gender dysphoria in the U.K., following almost exactly the same timing and curve.

(Cass 2022 at 34.)




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   44.     The Netherlands: Data from the Netherlands shows the same pattern and timing and

breaks out the fact that the phenomenon is primarily affecting biological females. (Arnoldussen

2020.)




   B. Additional data also show a sharp increase in mental health conditions broadly
      among teens occurred concurrent with the wide uptake of social media.

   45.     Brunette et al. (2023) plotted data from U.S. National Survey on Drug Use and Health

demonstrating that increases in depression began at the same time and occurred among younger

rather than older adults:




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   46.       Data from the U.S. Substance Abuse and Mental Health Services Administration

(SAMHSA 2022) likewise show the rapid rise in depressive episodes, more than doubling,

accompanying the social media age, and mostly affecting youth under 25:




   C. The post-2011 crisis in mental health, like the explosion of gender dysphoria referrals,
      has been a largely female phenomenon.

   47.       The sudden and dramatic increases in depression primarily occurred among

biologically female adolescents. The U.S. Centers for Disease Control and Prevention (CDC)

released the results of its biannual Youth Risk Behavior Survey (CDC 2023). The report

confirmed that mental health and suicidal thoughts and behaviors worsened significantly

between 2011 and 2021. It also found these problems primarily affecting biological females,

noting:

          Across almost all measures of substance use, experiences of violence, mental
          health, and suicidal thoughts and behaviors, female students are faring more
          poorly than male students. These differences, and the rates at which female
          students are reporting such negative experiences, are stark. […] In 2021, almost
          60% of female students experienced persistent feelings of sadness or hopelessness
          during the past year and nearly 25% made a suicide plan. (CDC 2023 at 2.)




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   48.      Twenge (2022) showed an exponential increase in major depression rates among U.S.

adolescents (ages 12–17) beginning in 2011, as reported by the U.S. National Study of Drug Use

and Health, illustrating again this to be primarily among females:




(Twenge 2022 at 3.)

   49.      Tragically, the same pattern extends beyond depression and mental health to actual

completed suicide. While suicide rates for most groups have fallen or remained constant since

2011, completed suicide rates for adolescent girls instead have skyrocketed:

         Suicide rates have been falling overall, but girls—who kill themselves less often than
         other groups—are an exception. Among girls aged 10–19, suicide rates rose from an
         average of 3.0 per 100,000 people in 2003 to 3.5 per 100,000 in 2020. The rate among
         boys, although higher at 6.1 per 100,000 population, has barely changed. (Economist
         2023.)




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Changes in suicide rates, by biological sex and age group. (Economist 2023.)




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   50.      Twenge (2020) compared multiple indicators of poor mental health among U.S. girls

and young women across 2001–2018, again illustrating the dramatic worsening beginning in

2011. “In most cases, the increases in indicators of poor mental health have been larger among

girls and young women than among boys and young men” (Twenge 2020 at 19.). These findings

confirm the patterns I have previously identified.




   D. The 2011 onset of increased mental health problems and increased gender dysphoria
      referrals has been recognized as co-occurring with the uptake of smartphones among
      adolescents.

   51.      New reports increasingly recognize social media and smartphone usage as the

common link behind the proliferation of mental health disorders among adolescents (Brunette et

al. 2023; Haltigan et al. 2023), including the recent health advisory by the American

Psychological Association on social media use among adolescents (APA (2023).). The APA

advisory concluded:

         Research suggests that using social media for social comparisons related to
         physical appearance, as well as excessive attention to and behaviors related to
         one’s own photos and feedback on those photos, are related to poorer body image,
         disordered eating, and depressive symptoms, particularly among girls. (APA
         2023 at 8, emphasis added.)




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These conclusions further confirm the conclusions of systematic review associating smartphone

usage and poorer mental health (Sohn et al. 2019).

   52.     The timing of the increase in gender dysphoria referrals exactly correspond with the

penetration of smartphones and social media into adolescent lives: Data published by Pew

Research illustrates that the rates of smartphone usage among teenagers also began its dramatic

rise in 2011−2012:




(Lebrow 2022.)

   53.     Twenge (2020) documents that it is precisely the heavy users of social media who are

most likely to report being depressed, feeling unhappy, or exhibiting suicidality. Again, the

association is, by far, most striking for adolescent girls:




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(Twenge 2020 at 22.)

   54.      In their peer-reviewed, nation-wide analysis of Finland’s centralized gender identity

services (GIS), Kaltiala et al. observed:

         The increase in all the younger people contacting GIS and in psychiatric needs
         among them have taken place simultaneously with the emergence of the widely
         recognized crisis in mental health among adolescents and young adults throughout
         the Western world [44, 45], largely associated with the increasing use of social
         media [44–46]. Social influences that reduce stigma and barriers to care for
         people suffering from incongruence between their sexed body and lived gender
         experience likely improve mental health in this group and social media may offer
         invaluable support and belongingness that buffers against minority stress.
         However, social media influences may also result in adolescent and emerging
         adult females – who present particularly frequently with identity confusion [47] –
         seeking for a solution to their distress through GR [11] and overshadow the need
         for psychiatric treatment. (Kaltiala et al. 2023 at 6.)

The sources cited by Kaltiala et al. in this paragraph are:

         11: Marchiano, L. (2017). Outbreak: On transgender teens and psychic epidemics.
               Psychological Perspectives, 60, 345–366.




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            44: Twenge, J. M. (2020). Increases in depression, self-harm, and suicide among U.S.
                  adolescents after 2012 and links to technology use: Possible mechanisms.
                  Psychiatric Research and Clinical Practice, 2, 19–25.
            45: Krokstad, S., Weiss, D. A., Krokstad, M. A., Rangul, V., Kvaløy, K., Ingul, J. M.,
                   Bjerkeset, O., Twenge, J., & Sund, E. R. (2022). Divergent decennial trends in
                   mental health according to age reveal poorer mental health for young people:
                   Repeated cross-sectional population-based surveys from the HUNT Study,
                   Norway. BMJ Open, 12, e057654.
            46: Abbasi, J. (2023). Surgeon general sounds the alarm on social media use and youth
                  mental health crisis. JAMA, 330, 11–12.
            47: Bogaerts, A., Claes, L., Buelens, T., Verschueren, M., Palmeroni, N., , Bastiaens T.,
                   & Luyckx, K. (2021). Identity synthesis and confusion in early to late
                   adolescents: Age trends, gender differences, and associations with depressive
                   symptoms. Journal of Adolescence, 87, 106–116.

IV.         New studies on risks of harm corroborate the dangers posed to children and
            adolescents by medicalized transition.

      55.      As I outlined in my prior report, an analysis of the safety and/or efficacy of any

particular approach requires a balancing of the probable benefits in light of probable risks.

(Cantor Report, Section V.A.) My prior report also detailed both the known and the potential,

but largely unstudied, harms associated with administration of puberty blockers and cross-sex

hormones to children and adolescents, one of which is irreversible sterilization. (Cantor Report,

Section XIV.)

      56.      Since I prepared my report, a systematic review of the research studying the desire of

transgender individuals to become biological parents has now been completed and published,

information relevant to the possibility that medical transition will later be perceived by the

patient as having inflicted severe harm. Stolk et al. (2023) reviewed of a total of 76 individual

studies. The review found that that the majority of adults undergoing medicalized transition

desired to become parents in the future; however, fertility preservation utilization rates were

nonetheless low. That disconnect obviously leaves large room for future regret and harm.

      57.      By contrast, Stolk et al. found that among transgender adolescents, only a minority


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stated a desire to become biological parents in the future. Stolk et al. did not however, find any

study that measured by how such desires change over time, once those who transition as

adolescents mature into adult life. The much greater levels of desire to become a parent reported

by transgender adults suggests the hypothesis that this desire increases as one enters and lives

adult life, although a longitudinal study would be necessary to conclude this with confidence.

Also not included in Stolk et al. was information comparing levels of asserted desire to be a

parent in the future among non-transgender adolescents with asserted desire on the part of non-

transgender adults. Such a comparison that might give critical insight into the general stability

(or lack of stability) of such desires across time and maturation.

     58.      Notably, Stolk et al. recognize that cross-sex hormone treatment beginning at Tanner

Stage 2 ends the possibility of future fertility. The review noted also that WPATH guidelines

include no procedures that would prevent this effective sterilization. Rather, WPATH guidelines

include only the recommendation that individuals undergoing medicalized transition receive

counseling about that loss of capacity for biological children. Neither the review nor WPATH

provides any indication of how effective such counseling can be with, for example, a 10-year-old

or prepubescent child making the irreversible decision never to become a biological parent. No

evidence or methodology exists for validating whether any consent or assent obtained from such

a child could be meaningfully informed.


V.         Evidence-based medicine warns against strong recommendations based on low
           quality evidence.

     59.      In his declaration, Dr. Antommaria did not contest that the evidence cited in support

of the medicalized transition of minors was of low quality; however, Dr. Antommaria asserted

that it is standard practice for clinical guidelines to issue strong recommendations on the basis of




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only low quality evidence. (Antommaria Report at 11–15.) New documentation, including peer-

reviewed publications and the now identified sources of WPATH’s procedures, indicate instead

that recommendation strength being discordant with evidence strength conflicts with evidence-

based medicine. First, Chapter 14 of WHO (2014) is titled “Strong recommendations when the

evidence is low quality,” and makes this principle explicit:

         GRADE guidance warns against discordant recommendations because when
         either the benefits or harms of an intervention are uncertain, one cannot be
         confident that an intervention does more good than harm. Strong
         recommendations are directives that are meant to be followed by all or almost all
         guideline users and under all or almost all foreseeable circumstances. […]
         Because of this, discordant recommendations may entrench practices whose
         benefit is uncertain. For instance, a discordant recommendation may lead the
         users of a WHO guideline to carry out interventions that are detrimental
         individually or collectively or to waste scarce resources on ineffective
         interventions. (WHO 2014 at 170–71, emphasis added.)

   60.      A new peer-reviewed article, published in BMC Medical Research Methodology,

compared quality of evidence with strength of recommendations for all the National Clinical

Guidelines (NCGs) of Ireland after 2019, when that country’s national health care system

adopted the GRADE approach to evidence-based medicine—Chong et al. (2023). Chong et al.

first summarized the basic principle behind evidence-based medicine:

         1) Strong recommendations confirm confidence that the desirable effects
         outweigh the undesired consequences and 2) conditional/weak recommendations
         are made when there is uncertainty regarding potential harms or disadvantages.
         […] For the development of trustworthy guidelines there should be concordance
         between the quality (certainty) of the evidence and the strength of the
         recommendations. (Chong et al. 2023 at 2.)

   61.      Moreover, when there is only low quality evidence to support a treatment that risks

harm, the primary recommendations are recommendations against that treatment, not for it, as

Dr. Antommaria misleadingly insinuates. Dr. Antommaria fails to disclose how many of the

strong recommendations based on weak evidence he cited were strong recommendations against




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the procedure because of the weak evidence, rather than for the procedure despite only weak

evidence.

   62.      As Chong et al. noted: When the evidence of benefit is of low or very low quality, but

the evidence of harm is high or moderate, then the recommendation is a strong recommendation

against the treatment, and when the evidence shows that two treatments have potentially

equivalent effectiveness but that one clearly poses less risk (such as with psychotherapy versus

medicalized transition), then the recommendation is a strong recommendation against the higher

risk treatment. (Chong et al. 2023 at 3.)

   63.      WHO (2014) provides the same instructions:

         When guideline development groups are confident that the desirable
         consequences (benefits) of an intervention outweigh its undesirable consequences
         (risks or harms), they will likely issue a strong recommendation in favour of the
         intervention; when they are confident that the opposite is true, they issue a strong
         recommendation against the intervention. In cases in which the balance between
         desirable and undesirable consequences is less certain, the guideline development
         group will issue a conditional recommendation. (WHO 2014 at 169.)

For example, when there is only low or very low quality evidence of benefit (such as with mental

health benefits from medicalized transition), but high or moderate level evidence of harm (such

as with the sterilization from cross-sex hormones administered to prepubescent reproductive

organs), the proper application of the principles of GRADE as clearly set out in these sources

yields a strong recommendation against the intervention, not for it.

   64.      Both Chong et al. (2023) and WHO (2014) do identify five situations which represent

exceptions to the concordance principle, in which strong recommendations may be appropriate

despite low quality evidence. These give situations are listed below. Notably, four of them are

recommendations against the treatment:




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Situations in which a strong recommendation may be indicated despite low quality
evidence.

                                        Evidence Quality
            Situation                                                     Recommendation
                                     Benefits         Harms

 Uncertain benefit, certain        Low or         High or        Strong recommendation against
 harm                              very low       moderate       the more harmful/costly option

 Potentially equivalent options,
                                  Low or          High or        Strong recommendation against
 one clearly less risky or costly
                                  very low        moderate       the more harmful/costly option
 than the other

 High confidence in benefits                                     Strong recommendation against
                                   High or        Low or
 being similar, but one option                                   the potentially more
                                   moderate       very low
 potentially more risky/costly                                   harmful/costly option

                                   Immaterial
                                                  Low or         Strong recommendation against
 Potential catastrophic harm       (very low
                                                  very low       the more harmful/costly option
                                   to high)

                                                  Immaterial
                                   Low or                        Strong recommendation in favor
 Life-threatening emergency                       (very low
                                   very low                      of the intervention
                                                  to high)



   65.     A “life-threatening situation” is one for which it is well documented that death would

result in very substantial proportion of the affected individuals. WHO (2014) offers as an

example that, as multidrug resistant tuberculosis so often results in death, it is acceptable to

recommend a fluoroquinolone, despite the evidence of its lesser generally effectiveness and

greater toxicity than front-line treatment. (WHO 2014 at 172.) As the science I have reviewed

makes very clear, it is not possible to assert that a child or adolescent presenting at gender clinic

presents a comparable “life-threatening situation.” Nor does any responsible voice (nor even

WPATH) assert that the risks posed by administering puberty blockers or cross-sex hormones to




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minors are “immaterial.” In short, the only situation in which the principles of evidence-based

medicine permit a strong recommendation based on low quality evidence does not apply.


VI.         New studies and statements from medical associations and respected international
            experts confirm the lack of professional consensus and lack of science supporting
            the medicalized transition of minors.

      66.      In my prior report, I cited extensive evidence that claims of a “medical consensus” in

favor of medicalized transition of children (often supported by nothing more than pointing to

“guidelines” published by professional interest groups) are demonstrably false. (Cantor Report,

Section II.F.) Since then, new studies, as well as statements from a variety of medical

associations, have further endorsed that conclusion.

      A. The World Health Organization (WHO) has removed children and adolescents from
         its upcoming guidelines on transgender health, making explicit this was because of the
         lack of evidence.

      67.      WHO (2014) explicitly identifies its methods as scientific and evidence-based:

            [I]n its normative and standard-setting work, WHO is and will remain a science-
            and evidence-based organization with a focus on public health. Guidelines are the
            fundamental means through which the Organization fulfils its technical leadership
            in health […] WHO’s legitimacy and technical authority lie in its rigorous
            adherence to the systematic use of evidence as the basis for all policies. (WHO
            2014 at 1.)

WPATH explicitly names WHO as one of the sources upon which it relied for its methodology

in producing SOC-8—see Section VII. below. SOC-8 also employs the WHO diagnostic system

(ICD-11) instead of the APA system (DSM-5-TR). Despite WPATH’s consistent endorsement

of WHO standards, however, WHO itself has come to the opposite conclusion of WPATH on the

application of these standards to transgender children and adolescents.

      68.      On 18 December 2023, the World Health Organization announced the development

of a guideline on the health of transgender and gender diverse people, including the provision of

gender-affirming care. (WHO 2023.) On 15 January 2024, WHO announced that the guideline


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would pertain only to adults (WHO 2024a), stating in a published “FAQ” that the reason for

excluding minors was specifically because of the insufficient and inconsistent evidence:

         Why will the guideline only cover adults and not also children or adolescents?

         The scope will cover adults only and not address the needs of children and
         adolescents, because on review, the evidence base for children and adolescents is
         limited and variable regarding the longer-term outcomes of gender affirming care
         for children and adolescents. (WHO 2024b at 3.)

   B. The UK Council for Psychotherapy has now issued official guidance regarding (what it
      termed) gender critical views and to emphasize that exploratory therapy must not be
      conflated with conversion therapy.

   69.      The United Kingdom Council for Psychotherapy (UKCP) is the national registering

body for psychotherapists in the UK, comprising 80 member organizations. It is the primary

organization in that country for the education, training, accreditation, and regulation for

psychotherapy and psychotherapeutic counselling. After the submission of my prior report, that

body issued a statement explaining its guidance for psychotherapy with gender dysphoric

minors:

         Psychotherapists and psychotherapeutic counsellors who hold [gender critical]
         views are likely to believe that the clinically most appropriate approach to
         working therapeutically with individuals who present with gender dysphoria,
         particularly children and young people, is exploratory therapy, rather than
         medicalised interventions such as puberty blockers, cross-sex hormones or
         reassignment surgery. […] Exploratory therapy should not in any circumstances
         be confused with conversion therapy, which seeks to change or deny a person’s
         sexual orientation and/or gender identity. (UKCP 2023.)

The statement quoted the Chair of the UKCP, Dr. Christian Buckland, saying:

         The UKCP continues to recognise the fact that there are different professional
         beliefs on many differing topics within the psychotherapeutic community. […]
         Medical interventions can potentially be irreversible, and there are risks
         associated with all medical treatments. Therefore, it is imperative that all
         underlying aspects to someone’s dysphoria are given the attention and exploration
         they deserve through professional psychotherapies, in order that the overall risks
         can be appropriately assessed prior to considering medical intervention. (UKCP
         2023.)



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   70.      Thus, the UKCP statement directly contradicts the plaintiffs’ experts’ claims, but

further confirms and reiterates the contents of my prior report, including the lack of professional

consensus over treatment models (Cantor Report, ¶¶ 34–37), erroneous misuse of the term

“conversion therapy” (Cantor Report, ¶ 301), and the risks associated with medicalized transition

(Cantor Report, Section XIV.).

   C. A new survey of endocrinologists who prescribe gender-affirming hormone treatment
      demonstrates split opinion, not consensus.

   71.      A new study surveying board-certified endocrinologists who prescribe gender-

affirming hormone treatment (GAHT) to adults found that “GAHT can and is currently being

prescribed in large numbers without a prerequisite of psychosocial evaluation from a MHP

[mental health provider].” (Bisno et al. 2023 at 469.) Bisno et al. noted that this lack of thorough

evaluation is consistent with guidelines published by special interest groups with a financial

interest in administrating that therapy:

         The Endocrine Society published guidelines in 2017 recommending against an
         obligatory psychosocial evaluation, which was affirmed in the recently published
         World Professional Association for Transgender Health Standards of Care
         Version 8 from 2022. (Bisno et al. 2023 at 465.)

By contrast, however, Bisno et al. found that “42.9% of the respondents reported that their

practice required documentation of a psychosocial evaluation from a mental health professional

before initiating GAHT.” The authors concluded that, despite the Endocrine Society and

WPATH guidelines, “Endocrinologists who prescribe GAHT are divided about requiring a

baseline psychosocial evaluation before prescribing GAHT.” (Bisno et al. 2023 at 465.)

   72.      The fact that almost half of the surveyed physicians reported using clinical criteria

tighter than those of WPATH and the Endocrine Society indicates their belief that those

guidelines provide insufficient protection against harm.




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   73.       The authors of Bisno et al. reported reasons given by some doctors who agreed with

the WPATH/Endocrine Society advocacy to remove any requirement for a psychosocial

evaluation before prescribing puberty blockers or cross-sex hormones. Interestingly, the reasons

tgiven do not reflect evidence-based conclusions about benefits, harms, or risks from medical

transition. Rather, the reasons were:

         •   Access: Too “few MHPs [mental health providers] are training in gender-affirming
             health care” (at 466.) which made it “challenging to find a MHP” (at 467.);

         •   Cost: Too few MHPs “participate in any insurance plan,” while “up to 40% of the
             transgender population is publicly insured or uninsured” (at 467.); and

         •   Advocacy goals: Dispensing with a mental health evaluation would “minimize the
             association of transgender identity with mental illness” (at 469.).

These reasons do not reflect principles of evidence-based medicine. Rather, they serve to

increase potential patients’ ability to obtain and afford the services of these endocrinologists.

Indeed, these motivations represent the very kinds of conflict of interest that both IoM (2011)

and WHO (2014) warn about and seek to guard against—see Section VII.A. below.

   D. The American Academy of Pediatrics (AAP) now acknowledges that its 2018 policy
      statement on gender dysphoric children was not based on a systematic review of the
      relevant research.

   74.       As noted in my prior report (Cantor Report, Section XVI.D.) and detailed in my peer-

reviewed fact-check (Cantor 2020), the AAP’s policy statement on transgender youth

misrepresented and directly contradicted the contents of the then-available scientific literature.

Neither AAP nor the sole author of its policy statement (Rafferty et al. 2018) conducted either a

systematic review or even a competent narrative review of the relevant science. In the several

years since that time, AAP has produced no correction or other response to the numerous,

documented errors that statement contained.

   75.       Since the submission of my prior report, AAP Board of Directors has reaffirmed that



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same 2018 policy. (Wyckoff 2023.) Remarkably, the AAP did so still without conducting a

systematic (or any other) review of the now much expanded relevant science. This is despite:

(1) the long list of factual errors I and others had already documented regarding the scientific

assertions contained in the policy, (2) the hundreds of relevant peer-reviewed studies published

only after that 2018 policy, and (3) the systematic reviews from all over the world that also

became available only after 2018, unanimously contradicting the very basis of that policy.

   76.     The statement AAP made in announcing the policy reaffirmation in its journal,

Pediatrics, included the assertion by the AAP CEO that the “policy authors and AAP leadership

are confident the principles presented in the original policy [Rafferty et al. (2018)] remain in the

best interest of children.” (Wyckoff 2023.) The principles that the public expects and assumes,

however, are the principles of evidence-based medicine, and the principles of evidence-based

medicine require a systematic review, which the AAP has neglected to perform, now twice.

Additionally, unlike in 2018, there now exist systematic reviews already available from multiple

authorities that do adhere to the principles of evidence-based medicine, but the AAP has entirely

disregarded those available resources.

   77.     The AAP’s announcement did include a statement that it intends to conduct a

systematic review in the future, only after reaffirming its policy. Such a cart-before-the-horse

strategy is clearly positioned to facilitate reaching a predetermined conclusion. Indeed, the AAP

statement did not acknowledge any scientific need for a systematic review, and instead

highlighted “the board’s concerns about restrictions to access to health care with bans on gender-

affirming care.” As noted in earlier in this report, such declarations from professional guilds

represent a conflict of interest—see Section VII.A below. Because of the financial incentives to

physicians providing these services, patients’ “access to health care” is indistinguishable from




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AAP’s access to its customer market.

   E. New statements from respected international experts increasingly warn of dangers of
      excessive medicalization and discourage medical transition of children.

   78.      My prior declaration identified multiple international health care systems reversing

their policies that had initially facilitated the medicalized transition of minors. (Cantor Report,

Section II.) The international recognition that the earlier policies fail to reflect the medical

science and have not been shown to benefit children continues to grow with the still-increasing

evidence. It is evident that the U.S. medical policies are growing increasingly isolated from the

international medical and scientific consensus in light of the scientific evidence.

   79.      In a recent open letter in the Wall Street Journal, 21 scientists and clinicians from

nine countries, all experts in caring for gender dysphoric youth, issued a warning to the U.S. that

“Youth gender transition is pushed without evidence: Psychotherapy, not hormones and surgery,

is increasingly the first line of treatment abroad.” (Kaltiala, Takala, et al. 2023.) The authors

emphasized:

         The politicization of transgender healthcare in the U.S. is unfortunate. The way to
         combat it is for medical societies to align their recommendations with the best
         available evidence—rather than exaggerating the benefits and minimizing the
         risks. (Kaltiala, Takala, et al. 2023.)

   80.      One of the authors of this open letter, Dr. Riittakerttu Kaltiala, is the chief psychiatrist

in the department of adolescent psychiatry at the Tempere University Hospital, one of the

leading teaching hospitals in Finland. She served as the head of Finland’s national pediatric

gender program, which began with, and for several years followed, the “Dutch protocol” which

includes prescribing puberty blockers for some exceptional gender dysphoric children, starting at

age 12. (Cantor Report, Section XVI.A.) Dr. Kaltiala is now, however, vocally advocating

against these hormonal interventions which she says “interrupt and disrupt [the] crucial




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psychological and physical developmental stage” of puberty. In her recently published essay

entitled “Gender-affirming care is dangerous,” she recounts that—as her clinic tracked their

patients— “the young people we were treating were not thriving. Instead, their lives were

deteriorating . . . they were doing worse” and that “some previous patients started to come back

to tell us they now regretted their transition.” (Kaltiala 2023.) Dr. Kaltiala states that “the

[evidentiary] foundation on which the Dutch protocol was based is crumbling,” and that “regret

is far more widespread” than commonly acknowledged. “For example, one new study shows that

nearly 30 percent of patients in [a transitioned] sample ceased filling their hormone prescriptions

within four years.” (Kaltiala 2023.)

   81.      The Editor-in-Chief of the British Medical Journal (among the most respected

medical journals in the world) likewise recently described the international shift away from

medicalized transition in favor of psychological support in a recent article, explicitly calling out

medical societies in the U.S. which are departing from the evidence:

         The US, however, has moved in the opposite direction. An investigation by The
         BMJ finds that more and more young people are being offered medical and
         surgical intervention for gender transition, sometimes bypassing any
         psychological support. Much of this clinical practice is supported by guidance
         from medical societies and associations, but closer inspection of that guidance
         finds that the strength of clinical recommendations is not in line with the strength
         of the evidence. The risk of overtreatment of gender dysphoria is real. (Abbasi
         2023 at 553.)

   82.      One of the most widely known experts and pioneers of the treatment of gender

dysphoria in minors, Dr. Susan Bradley of Canada, recently expressed regret at having employed

puberty blockers to treat gender dysphoric minors. She now states:

         We were wrong. . .They’re not as irreversible as we always thought, and they
         have longer term effects on kids’ growth and development, including making
         them sterile and quite a number of things affecting their bone growth. (Duggan
         2023.)




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    F. Dr. Gordon Guyatt confirms that so-called guidelines or standards promoting
       medicalized transition of minors are not based on or consistent with evidence-based
       medicine.

    83.      As I have previously explained, Dr. Gordon Guyatt, Distinguished Professor of

Medicine and of Health Research Methods at McMaster University, is recognized as the “father”

of evidence-based-medicine. (Cantor Report, Section III.B.) Plaintiffs’ experts repeatedly cited

Dr. Guyatt in the course of describing the standards by which clinical research is (or should be)

assessed, asserting that medicalized transition is consistent with evidence-based-medicine. On

the contrary, multiple recent public statements by Dr. Guyatt now confirm that he agrees with

my application of the principles of evidence-based medicine to the research on gender dysphoric

minors and disagrees with that being put forward by the plaintiffs’ experts.

    84.      Dr. Guyatt has recently stated:

          Current American guidelines for managing gender dysphoria in adolescents [are]
          untrustworthy. Don’t acknowledge the very low certainty evidence regarding
          alternatives and do not make the very guarded weak/conditional recommendations
          appropriate for such evidence.6

In this post, Dr. Guyatt linked to article in the British Medical Journal (BMJ) that relied in part

on the author’s interview of Dr. Guyatt about the Endocrine Society’s guidelines on medicalized

transition. The BMJ article in turn quoted and summarized an interview with Dr. Guyatt as

follows:

          Guyatt, who co-developed GRADE, found “serious problems” with the Endocrine
          Society guidelines, noting that the systematic reviews didn’t look at the effect of
          the interventions on gender dysphoria itself, arguably “the most important
          outcome.”

          He [Guyatt] also noted that the Endocrine Society had at times paired strong
          recommendations—phrased as “we recommend”—with weak evidence.…
          “GRADE discourages strong recommendations with low or very low quality


6
  Retrieved from Gordon H. Guyatt (@GuyattGH), X,
https://twitter.com/GuyattGH/status/1641183448063967233?s=20 (last visited February 1, 2024).


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         evidence except under very specific circumstances,” Guyatt told The BMJ. Those
         exceptions are “very few and far between.” (Block 2023 at 2–3.)

Dr. Guyatt’s comments directly oppose Dr. Antommaria’s assertion that the Endocrine Society’s

guideline development procedure was “rigorous.” (Antommaria Report at 5.) Dr. Guyatt also

directly contradicts Dr. Antommaria’s suggestion that it is valid and routine to make strong

recommendations on the basis of weak evidence. (Antommaria Report at 14–15.)

   85.      In another interview, this time with The New York Times, Dr. Guyatt was asked about

AAP’s decision to promulgate a policy on the medicalized transition of minors without having

conducted a systematic review. (Ghorayshi 2023.) The Times described his response as follows:

         The move is “very clearly putting the cart before the horse,” said Dr. Gordon
         Guyatt, a clinical epidemiologist at McMaster University who helped develop the
         field of evidence-based medicine.

         Based on previous systematic reviews, Dr. Guyatt said, the A.A.P.’s report will
         most likely find low-quality evidence for pediatric gender care. “The policies of
         the Europeans are much more aligned with the evidence than are the Americans’,”
         he said. (Ghorayshi 2023.)

   G. Both topic experts and research methodology experts continue to discredit the
      publications of Dr. Jack Turban.

   86.      The plaintiffs’ experts repeatedly cite works by Dr. Turban claiming that those works

support the medicalized transition of minors, but which I demonstrated in my report to be

misinterpretations of survey data which he analyzed incorrectly. (Cantor Report, Section XVII.)

Since then, numerous public statements from Dr. Turban demonstrate his lack of knowledge of

even the basic methods of evidence-based medicine, with topic experts documenting numerous

errors in his analyses.

   87.      As noted in my previous report, a substantial proportion of the evidence from the

plaintiffs’ experts relies upon analyses by Dr. Turban of a 2015 survey, and survey studies

represent only very low quality evidence of clinical outcomes. Since the preparation of my



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report, further evidence has emerged documenting the unreliability of Dr. Turban’s findings and

conclusions, including re-analyses of his data by established topic experts, peer-reviewed

evaluation of his conclusions, editorial re-review of his work that compelled corrections be

published, and his own testimony under oath indicating the limits to his own knowledge of

evidence-based medicine research methods.

   88.      In his recent article, Dr. Turban challenged the validity of rapid onset gender

dysphoria (ROGD) on the basis of his analysis of the U.S. Transgender Survey of 2015 (the same

survey as reported in his prior works). (Turban et al. 2023a.) Survey-takers (transgender adults,

ages 18 and older) were asked “At about what age did you begin to feel that your gender was

‘different’ from your assigned birth sex?” (Turban et al. 2023 at 2.) To approximate childhood-

onset cases with pubertal/adolescent-onset cases, Turban’s analysis split the survey-takers into

those who responded age ≤10 versus >10. He then concluded that because “a substantial

proportion of participants (40.8%) reported that they did not come to realize their TGD identities

until adolescence or later,” this contradicted “the assumption of identity transience for this group

that is an inherent component of the ROGD hypothesis,” citing Littman et al. (2018).

Immediately upon the release of Turban’s claim, multiple authors exposed Turban’s confusion:

Transience is not a component of the ROGD hypothesis in the first place. (Kulatunga-Moruzi,

2023; Sapir et al. 2023.)

   89.      Sapir et al. identified a long list of further flaws in Turban et al. (2023a), including:

         (1) analyzes the wrong age cohorts in USTS-15,

         (2) uses a dubious proxy for “realization,”

         (3) uses an unreasonable definition of “disclosure,”

         (4) provides misleading analysis of time to disclosure,




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         (5) misrepresents and underestimates the significance of their sample’s female skew, and

         (6) omits ROGD-relevant data. (Sapir et al. 2023 at 1.)

Sapir et al. demonstrated that, once re-analyzed correctly, the U.S. Transgender Survey data

actually support the ROGD hypothesis. (See also Cantor Report, Section IX.C.)

   90.      The plaintiffs’ experts also repeatedly cited Turban et al. (2022), which has now also

been revealed to contain substantial errors. In that article, Access to gender-affirming hormones

during adolescence and mental health outcomes among transgender adults, Dr. Turban’s team

asserted that having received cross-sex hormone treatment during adolescence (ages 14–17) was

associated with lower odds of reporting suicidality within the year before the survey. Since the

submission of my prior declaration, errors in Dr. Turban’s data tables and other issues have been

identified that were sufficiently serious to require the publication of a correction—Turban et al.

(2023c). Jackson’s peer-reviewed assessment of studies of the effectiveness of so-called gender-

affirming treatment on suicidality identified in Turban et al. (2022) the same deficiencies that

have pervaded Turban’s earlier studies:

         As mentioned, any current or prior mental health treatments besides
         hospitalization secondary to suicide attempt(s) were not gathered and controlled
         for.

         It is possible that assessing the confounding of mental-health differences by
         comparing suicidality over the past year to a lifetime history is insufficient.

         There will be a higher likelihood of the presence of lifetime suicidal ideation but
         none for the past year not just due to mental health differences but as a function of
         increased age.

         There was no accounting for effects due to psychiatric diagnostic history.
         (Jackson 2023 at 11.)




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It is not possible to conclude from Turban et al. (2022) that hormone treatment caused

improvement, because of (any of) the several other uncontrolled (confounding) factors that could

also explain the reported scores.

   91.      The identification in Jackson (2023) of uncontrolled and confounding variables in

Turban et al. (2022) corresponds to what Biggs also identified and described as the primary

question:

         Why 'the range of confounding variables' omits interventions which have been
         identified in other published studies using the same data—including those with
         shared authors—as having positive associations with the same outcomes. (Biggs
         2022 at 1.)

   92.      The plaintiff’s experts also repeatedly cited Turban et al. (2020), which now has been

further critiqued for asserting conclusions not justified by its data. In that article, Pubertal

suppression for transgender youth and risk of suicidal ideation, Dr. Turban’s team asserted that

having received puberty-suppressing medication during adolescence was associated with lower

odds of suicidality. Jackson, however, found the same deficiencies in Turban et al. (2020) as in

Turban’s other studies:

         The presence of mental health treatment, substance use, or psychiatric diagnostic
         history was neither mentioned nor controlled for. (Jackson 2023 at 11.)

Moreover, although some of the preliminary analyses that did not account for other variables at

the same time (i.e., univariate analyses) suggested the possibility of statistical significance, they

were not significant when the other variables were included at the same time:

         Suicidal ideation within the past year did not reach statistical significance.
         Lifetime suicide attempts did not reach statistical significance depending on
         receipt of blockers in univariate analyses and thus were not assessed with
         multivariate analysis. (Jackson 2023 at 11.)

   93.      The Jackson (2023) identification of shortcomings correspond and confirm those

previously reported by Biggs (2020):



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          With multivariate analysis, only one of these nine measures yielded a statistically
          significant association (at 2227.).

          Psychological problems are, therefore, a confounding factor that will create a
          spurious association between suicidality and treatment (at 2228.).

In sum, it is not possible to conclude from Turban et al. (2020) that puberty-blockers caused

improvement, for reasons including inadequate statistical analysis and that uncontrolled

(confounding) factors could also explain the suicidality patterns observed.

    94.      Subsequent to my previous report, Dr. Turban’s lack of understanding of the

procedures and principles of the systematic review process and of evidence-based medicine has

been documented in the public record. Dr. Turban served as an expert witness for the plaintiffs

in Poe et al v Drummond et al. (Oklahoma, Northern District, Case No. 23-cv-00177-JFH-SH).7

In his rebuttal declaration in that case, dated July 7, 2023, Dr. Turban told the court:

          Defendants’ experts attempt to misleadingly bolster the importance of these
          reports from select European countries by calling them “systematic reviews.” But
          all a “systematic review” means is that the authors of the reports pre-defined the
          search terms they used when conducting literature reviews in various databases.2
          (Turban Rebuttal Declaration at 2.)

Dr. Turban is mistaken, however, having omitted critical components of a systematic review. As

the Harvard website cited by Turban (in his footnote 2 to the above quote) states, a systematic

review is not defined merely by disclosing search terms used to find relevant studies, but also in

(a) application of “standardized, systematic methods and pre-selected eligibility criteria reduce

the risk of bias in identifying, selecting and analyzing relevant studies,” an then conducting “an

assessment of the validity or risk of bias of each included study,” and finally “a systematic

synthesis, analysis and presentation of the findings of the included studies.”8




7
  I was engaged as an expert witness for the Defendants in that case.
8
 Harvard Countway Library. Systematic Reviews and Meta Analysis Q&A. Accessed: July 6, 2023. Available at:
https://guides.library.harvard.edu/meta-analysis/GettingStarted.


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    95.      Any accurate description of the concept of a systematic review within the discipline

of evidence-based medicine would include at least these criteria. Dr. Turban, however, appears

ignorant of the importance both of evaluating “the validity or risk of bias” of each study, and “a

systematic . . . analysis . . . of the findings” of each study. The description of the core

components of a systematic review given by the source cited by Dr. Turban does, however,

correspond very closely to the one I provided in my prior report. (Cantor Report ¶¶ 40, 41.)


VII.      WPATH extensively violated international conflict of interest standards in the
          course of developing SOC-8, while claiming to comply with them.

    96.      In my previous report, I provided extensive analysis and opinion on WPATH that

included its review of safety and effectiveness in establishing clinical guidelines (Cantor Report,

Section VI.B.), its assessment of the research gaps in the area (Cantor Report, Section XII.D.),

and an assessment of its published standards (Cantor Report, Section XVI.B.). Further analysis

reveals that WPATH was possessed of extensive conflicts of interest throughout the production

of Version 8 of its Standards of Care (SOC-8), while making false representations that it was

complying with accepted conflict of interest principles for that process.

    97.      For reference, the following assessment refers to these documents:

          Sharma et al. (2018).
                WPATH’s pre-registration in the PROSPERO database of the systematic review it
                planned, identifying each of the specific research questions it would examine.

          Baker et al. (2021).
                 WPATH’s systematic review of studies on the mental health of hormone therapy
                 on transgender people, three of which were on minors.

          WPATH (2022) aka Coleman et al. (2022).
              WPATH’s completed Standards of Care, version 8 (SOC-8).

          WHO (2019) aka WHO (2019a).
               The International Classification of Diseases, version 11 (ICD-11) of the World
               Health Organization.



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          WHO (2014).
               The WHO Handbook for Guideline Development (2nd edition) of the World
               Health Organization. Chapter 6 pertains to the management of conflicts of
               interest. Chapter 14 pertains to the issuing of strong recommendations on the
               basis of low quality evidence.

          IoM (2011).
                Institute of Medicine. (2011). Clinical Practice Guidelines We Can Trust.
                Washington, DC: The National Academies Press.

    98.      SOC-8 indicates its guideline development methods in its appendix, on page S247:9

          The process for development of the SOC-8 incorporated recommendations on
          clinical practice guideline development from the National Academies of Medicine
          and The World Health Organization that addressed transparency, the conflict-of-
          interest policy, committee composition and group process. (Institute of Medicine
          Committee on Standards for Developing Trustworthy Clinical Practice, 2011;
          World Health Organization, 2019a).

An attempt to verify the claim of reliance on those documents leads to dead ends, however.

    99.      The entry in WPATH’s reference list for WHO (2019a) is to:

          World Health Organization. (2019a). International Statistical Classification of
          Diseases and Related Health Problems (11th ed.). World Health Organization.
          https://icd.who.int/browse11/lm/en#/http://id.who.int/icd/entity/90875286”
          (SOC-8 at p. S244.)

That document, however (the ICD-11, WHO 2019a), is not a methods manual at all. It does not

provide procedures for developing clinical guidelines, for conflict of interest or any other issue.

    100.     The other document that WPATH cited as its source, “IoM (2011),” does not appear

on WPATH’s reference list at all, but it appears to refer to the Institute of Medicine’s Clinical

Practice Guidelines We Can Trust (2011). The actual WHO manual for clinical guidelines

development is WHO (2014), the WHO Handbook for Guideline Development, referenced as

above. This handbook is missing altogether from WPATH’s reference list.


9
  SOC-8 also indicates its methods on page S8 providing the text below, with no citation, and noting that “SOC-8
incorporated the recommendations” (emphasis added) rather than “SOC-8 incorporated recommendations.”
      “The process for development of the SOC-8 incorporated the recommendations on clinical practice guideline
      development set forth by the National Academies of Medicine and the World Health Organization, which
      addressed transparency, conflict-of-interest policy, committee composition, and group process.”


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     101.   Both IoM (2011) and WHO (2014)10 provide conflict of interest guidelines, and they

detail procedures that WPATH clearly violated: WPATH’s SOC-8 were produced entirely by an

association and a group of individuals whom both sets of international standards instruct should

be excluded or whose role and influence should be strongly limited.

     A. WPATH itself suffers a strong “associational conflict of interest” in producing clinical
        practice guidelines for treatment of gender dysphoria.

     102.   IoM (2011) and WHO (2014) describe and seek to prevent conflicts of interest

pertaining both to individuals developing clinical practice guidelines (CPGs) and to the

professional associations of those individuals. On the associational level, the international

standard (as indicated by the very sources upon which WPATH claimed to have relied) is for

such assessments to be conducted by experts at arm’s length from those services—sufficiently

familiar with topic but not professionally engaged in performing the clinical practices under

review. IoM (2011) notes:

        Many guidelines developed by medical societies and other private organizations
        are self-funded, through membership dues, donations, or other means. CPGs
        funded by medical societies dependent on membership dues may be cause for
        concern regarding conflict of interest if their recommendations would likely affect
        their members’ income. (IoM 2011 at 47.)

     103.   This conflict of interest is strongly present in the case of WPATH and its

development of SOC-8. WPATH’s financial well-being depends upon the number of its dues-

paying members which, in turn, depends upon WPATH acting in its members’ financial

interests: The more people who undergo transition, the greater the market available to

WPATH’s dues-paying members.

     104.   Additionally, it is strongly in the financial interest of WPATH members, and thus of



10
  Even though WPATH does not cite WHO (2014), for the purposes of this supplemental report I reference this
document as it is the relevant, and current, World Health Organization guidance on conflict of interest.


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WPATH, that medicalized transition be deemed eligible for medical insurance as broadly as

possible. For example, because medical insurance does not cover “experimental” treatments,

WPATH’s claims that medicalized transition of minors is not experimental represents a very

direct conflict between expanding its members’ potential market and protecting minors from

undergoing experimental treatments unknowingly.

     105.    This association-level conflict of interest pertains not only to WPATH, but also to the

other associations producing guidelines in the U.S., including the Endocrine Society and the

American Academy of Pediatrics (AAP) — organizations whose policy I assessed in my initial

report (Cantor Report, Sections VI & XVI.). By contrast, examples of health care authorities

that are not afflicted with a conflict between the interests of service providers and the interests of

patients are the national health care systems, such as those of England, Sweden, and Finland.

(Examined in Cantor Report, Sections II & V.) Because their health care systems are publicly

funded, they are not susceptible to the same association-level conflicts.

     106.    In direct opposition with IoM’s caution to avoid association-level conflict of interest,

WPATH essentially required this conflict, making membership in WPATH a requirement for

appointment of professionals to the guideline development team:

        Except for the Chair (Eli Coleman) who was appointed by the WPATH board to
        maintain a continuity from previous SOC editions, members of the Guideline
        Steering Committee were selected by the WPATH Board from WPATH members
        applying for these positions…Chapter Leads and Members were required to be
        WPATH Full Members in good standing. . . .11 (SOC-8 at S248, emphasis added.)

     B. WPATH did not screen for or disclose the personal financial and intellectual conflicts
        of interest of those who participated in developing SOC-8.

     107.    With respect to individuals who participate in creating a clinical guideline, IoM



11
  Only members of the public, such as parents of gender dysphoric children participating as “stakeholders,” were
not required to be WPATH members.


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(2011) and WHO (2014) emphasize the importance of avoiding both financial conflicts of

interest (direct and indirect), and intellectual conflicts of interest. These documents corroborate

and detail the accepted methods to avoid conflict of interest and ensure objective assessment of

any particular topic. These widely accepted principles and methods match the summary I set out

in my initial report (Cantor Report, Section I.C.). Most importantly, these respected documents

agree that the experts best equipped for assessing clinical practice guidelines are not the people

whose livelihood, prestige, and/or ideological commitments are tied to providing the clinical

services under review. Such people have both financial and professional incentives and thus a

natural bias towards declaring their services to be effective and safe. IoM (2011) cites peer-

reviewed studies that document the real-world effect of this conflict of interest can have:

       Hutchings [& Raine (2006)] identified 22 studies examining the impact of
       individual participant specialty or profession. Overall, the authors observed that
       those who performed a procedure, versus those who did not, were more likely to
       rate more indications as appropriate for that procedure. […] Murphy and
       colleagues (1998) offer other relevant findings in a systematic review in which
       they compared guideline recommendations produced by groups of varying
       composition. The authors concluded that differences in group composition may
       lead to contrasting recommendations; more specifically, members of a clinical
       specialty are more likely to promote interventions in which their specialty plays a
       part. (IoM 2011 at 84.)

   108.    Instead of complying with recognized conflict of interest principles, WPATH

gathered a team of individuals all or most of whom stood to benefit financially from expanding

the number of youth approved to obtain medical transition services and expanding the

availability of insurance to cover such services; neglected to assess or disclose direct financial

benefits to those individuals; publicly (but falsely) declared that none of these individuals had

any conflict of interest; claimed it followed established procedures to limit conflicts of interest

that it did not follow; excluded the sources of its procedures from its references; and redacted

critical information relevant to these conflicts from the documentation it supplied to the present



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proceedings under subpoena (in particular, the names of those who advocated for various

positions during the process).

   109.    The team of individuals whom WPATH gathered did not represent the range of

opinions among topic experts and did not reflect the diversity of relevant stakeholders. On the

contrary, WPATH limited membership on its team to individuals who paid dues to WPATH and

excluded from participation any professional with a point of view which would have kept such a

professional from joining WPATH. As a result, WPATH’s process excluded the input of

detransitioners, as well as of the practitioners, researchers, and prominent voices within

European health authorities who are expressing scepticism and concern about performing

medical transition procedures on minors.

   110.    Instead, the committee consisted of individuals whose academic and scholarly

standing stood to benefit from WPATH’s product. As I detail below, the WPATH procedure

consisted of exactly the biased and one-sided methods that the IoM and WHO procedures are

designed to prevent.

               1. WPATH disregarded and failed to disclose extensive direct financial
               conflicts of interest.

   111.    As noted, both IoM (2011) and WHO (2014) indicate that receiving income from

providing the clinical practices being evaluated by the guidelines represents a direct financial

conflict of interest. The WPATH policy and disclosure forms, however, did not actually ask

participants to disclose (and therefore WPATH did not disclose to the public) participants’ direct

financial interests and thus conflicts of interest. Instead, WPATH asked only about the rare and

relatively minor instances of indirect financial conflicts of interest.

   112.    WHO (2014) describes financial conflicts of interest as:




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         A financial conflict of interest arises when an individual or organization receives
         income or monetary support that is related to, or could be affected by, the
         outcome of the WHO meeting or activity in which they are involved….Financial
         interests include, for example: personal financial gain such as paid work,
         consulting income or honoraria and travel stipends. . . . (WHO 2014 at 63,
         emphasis added.)

IoM (2011) provides similar language, dividing financial conflicts of interest into direct,

commercial conflicts and non-commercial conflicts:

         Direct financial commercial activities include clinical services from which a
         committee member derives a substantial proportion of his or her income;
         consulting; board membership for which compensation of any type is received. . .
         (IoM 2011 at 79, emphasis added.)

and

         Examples of noncommercial financial activities include research grants and other
         types of support from governments, foundations, or other nonprofit organizations.
         (IoM 2011 at 79.)

Physicians and therapists in private practice or clinics treating people with gender dysphoria very

clearly meet these criteria.

      113.   Despite ignoring the very clear and explicit indications from both IoM (2011) and

WHO (2014) as to what constitutes conflicts of interest, WPATH declared to the public in SOC-

8:

         Conflict of interests were reviewed as part of the selection process for committee
         members and at the end of the process before publication. No conflicts of interest
         were deemed significant or consequential. (SOC-8 at 177.)

Contrary to this public representation, most or all WPATH committee members possess conflicts

of interest that WPATH denied.

      114.   Widely accepted conflict of interest guidelines recognize that the clinical experiences

of individuals who receive income from pertinent clinical activities can have information helpful

to guideline developers—indeed the IoM and WHO procedures permit such individuals to

function as consultants or stakeholders rather than bar them altogether from participation.


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WPATH did not use such methods for managing conflicts of interest, however. Instead,

WPATH simply denied such conflicts existed.

   115.     The importance of the contradiction between WPATH’s failure to inquire about and

prevent direct financial conflict of interest on the one hand, and what it assured the public on the

other, cannot be exaggerated: The guidelines it published contained a list of what it claimed to

have been improvements over prior guidelines, explicitly naming management of conflict of

interest as such an improvement, noting:

       The main differences in the methodology of the SOC-8 when compared with
       other versions of the SOC are: […] Management of conflicts of interest. (SOC-8
       at S247, emphasis added.)

               2. WPATH disregarded and failed to disclose extensive intellectual conflicts
               of interest.

   116.     WHO (2014) defines intellectual conflicts of interest as roles or positions that might

interfere with the objective assessment of a body of evidence, providing the following as

examples:

       •    prior publication of a study or systematic review that is part of the evidence base
            under consideration in the guideline;

       •    prior public declaration of a firm opinion or position, as in public testimony during a
            regulatory or judicial process, or in an editorial in a journal; or

       •    professional or personal affiliation with an organization advocating for products or
            services related to the subject of the guideline. (WHO 2014 at 63.)

WHO (2014) also emphasizes that:

       The GDG [guideline development group] should be composed of individuals with
       diverse perspectives, training and experiences to keep the recommendations from
       reflecting a single viewpoint that was conceived before examining and discussing
       the systematic review of the evidence. (WHO 2014 at 71.)

IoM (2011) similarly defines intellectual conflicts of interest:

       A person whose work or professional group fundamentally is jeopardized, or
       enhanced, by a guideline recommendation is said to have intellectual COI.


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        Intellectual COI includes authoring a publication or acting as an investigator on a
        peer-reviewed grant directly related to recommendations under consideration.
        (IoM 2011 at 79.)

Adopting language offered by Dr. Gordon Guyatt et al., this includes “academic activities that

create the potential for an attachment to a specific point of view that could unduly affect an

individual’s judgment about a specific recommendation.” (Guyatt et al. 2010 at 739.)

     117.    The importance of appropriate handling of conflicts of interest is not limited to

influences on actual decision making. The IoM emphasizes also that “Regardless of the nature

of COI or its effects on guideline development, perception of bias undermines guideline users’

confidence in guideline trustworthiness as well as public trust in science” (IoM 2011 at 79.)

     118.    The publicly available list of authors of SOC-8 nonetheless reveals individuals well-

known for their many “public declarations,” prior publications stating “firm opinions or

positions” favoring what they label “gender affirming care,” belittling potential risks and harms,

and for their strongly expressed political views.

     119.    Moreover, WPATH itself as an organization has engaged in stridently worded

political advocacy and endorsement of specific interpretations of research literature,12 including

its urging that the services its members provide should be eligible for health care insurance

coverage, which its members would then receive as income. Thus, WPATH itself and all of its

members are necessarily affected by what WHO (2014) identifies as an intellectual conflict of

interest resulting from “professional or personal affiliation with an organization advocating

for . . . services related to the subject of the guideline.”

     120.    Again, conflict of interest guidelines do recognize that topic experts who receive

income from pertinent clinical activities can have valuable information for guidelines developers,


12
 See, for example, the press releases and political advocacy documents posted at https://www.wpath.org/policies,
WPATH/USPATH Public Statements (last accessed February 2, 2024).


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and the recommendations allow for such individuals to function as consultants or stakeholders,

rather than bar them altogether from participation. WPATH did not, however, practice methods

for managing conflicts of interest. Instead, WPATH simply denied that such conflicts existed

and provided no supervision, tracking, or management of undue influence.




Dated: February 2, 2024                                    ________________________
                                                               James M. Cantor, PhD




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                  APPENDIX A: CONFIDENTIAL




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Other Materials
      Documents produced by WPATH under subpoena (BOEAL_WPATH_000001 to
           BOEAL_WPATH_101726), in particular the documents identified by production
           number in this supplemental report.
      Plaintiffs’ and Defendants’ expert reports in this case, in particular those reports
              identified in this supplemental report.
      The rebuttal declaration of Dr. Jack Turban, dated July 7, 2023, in the case of Poe et al v
             Drummond et al. (Oklahoma, Northern District, Case No. 23-cv-00177-JFH-SH).
      X (formerly Twitter) post of Gordon H. Guyatt (@GuyattGH),
             https://twitter.com/GuyattGH/status/1641183448063967233?s=20 (last visited
             February 1, 2024).
      X (formerly Twitter) post of Colin Wright (@SwipeWright)
             https://twitter.com/SwipeWright/status/1571999221401948161?s=20&t=ouHIOb
             ZhEllVU-QR9tZYiQ (last visited February 2, 2024).
      WPATH/USPATH Public Statements, available at https://www.wpath.org/policies




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                   APPENDIX C: Curriculum Vitae




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Psychology • McGill University • Montréal, Canada

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Bachelor of Science                                                           Sep. 1984–Aug., 1988
Interdisciplinary Science • Rensselaer Polytechnic Institute • Troy, NY
Concentrations: Computer science, mathematics, physics


                                   EMPLOYMENT HISTORY

Director                                                                         Feb., 2017–Present
Toronto Sexuality Centre • Toronto, Canada

Senior Scientist (Inaugural Member)                                          Aug., 2012–May, 2018
Campbell Family Mental Health Research Institute
Centre for Addiction and Mental Health • Toronto, Canada

Senior Scientist                                                              Jan., 2012–May, 2018
Complex Mental Illness Program
Centre for Addiction and Mental Health • Toronto, Canada

Head of Research                                                              Nov., 2010–Apr. 2014
Sexual Behaviours Clinic
Centre for Addiction and Mental Health • Toronto, Canada

Research Section Head                                                         Dec., 2009–Sep. 2012
Law & Mental Health Program
Centre for Addiction and Mental Health • Toronto, Canada

Psychologist                                                                 May, 2004–Dec., 2011
Law & Mental Health Program
Centre for Addiction and Mental Health • Toronto, Canada


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Clinical Psychology Intern                                    Sep., 1998–Aug., 1999
Centre for Addiction and Mental Health • Toronto, Canada

Teaching Assistant                                            Sep., 1993–May, 1998
Department of Psychology
McGill University • Montréal, Canada

Pre-Doctoral Practicum                                        Sep., 1993–Jun., 1997
Sex and Couples Therapy Unit
Royal Victoria Hospital • Montréal, Canada

Pre-Doctoral Practicum                                        May, 1994–Dec., 1994
Department of Psychiatry
Queen Elizabeth Hospital • Montréal, Canada


                             ACADEMIC APPOINTMENTS

Associate Professor                                            Jul., 2010–May, 2019
Department of Psychiatry
University of Toronto Faculty of Medicine • Toronto, Canada

Adjunct Faculty                                               Aug. 2013–Jun., 2018
Graduate Program in Psychology
York University • Toronto, Canada

Associate Faculty (Hon)                                       Oct., 2017–Dec., 2017
School of Behavioural, Cognitive & Social Science
University of New England • Armidale, Australia

Assistant Professor                                            Jun., 2005–Jun., 2010
Department of Psychiatry
University of Toronto Faculty of Medicine • Toronto, Canada

Adjunct Faculty                                               Sep., 2004–Jun., 2010
Clinical Psychology Residency Program
St. Joseph’s Healthcare • Hamilton, Canada




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        Marc Breedlove, S. M., & Puts, D. (2020). Timing of peripubertal steroid exposure
        predicts visuospatial cognition in men: Evidence from three samples. Hormones and
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        victims of hebephilic sexual offenders. Sexual Abuse, 30, 332–339. doi:
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9. Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2018). The relationships
        between victim age, gender, and relationship polymorphism and sexual recidivism.
        Sexual Abuse, 30, 132−146. doi: 10.1177/1079063216630983
10. Stephens, S., Newman, J. E., Cantor, J. M., & Seto, M. C. (2018). The Static-99R predicts
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        Journal of Abnormal Psychology, 126, 1114–1119. doi: 10.1037/abn0000291
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16. Stephens, S., Cantor, J. M., Goodwill, A. M., & Seto, M. C. (2017). Multiple indicators of
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         consecutive male cases. Journal of Sex and Marital Therapy, 41, 563−580. doi:
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        masochistic sexual interests. Archives of Sexual Behavior, 43, 931−940. doi:
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39. Lykins, A. D., Cantor, J. M., Kuban, M. E., Blak, T., Dickey, R., Klassen, P. E., &
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        in diagnoses obtained from two different phallometric tests for pedophilia. Sexual
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        actuarial prediction into conceptually meaningful components. Criminal Justice and
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43. Blanchard, R., Kuban, M. E., Blak, T., Cantor, J. M., Klassen, P. E., & Dickey, R. (2009).
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        unrelated girls. Sexual Abuse: A Journal of Research and Treatment, 18, 1–14. doi:
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51. Blanchard, R., Cantor, J. M., & Robichaud, L. K. (2006). Biological factors in the
        development of sexual deviance and aggression in males. In H. E. Barbaree & W. L.
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        diagnostic indicator of pedophilia. Journal of Abnormal Psychology, 115, 610–615.
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         Behavior, 31, 511–526.
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         owe their sexual orientation to fraternal birth order? Archives of Sexual Behavior, 31,
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         behavior in the male rat: Reversal with oxytocin. Psychopharmacology, 144, 355–362.
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         Mahwah, NJ: Lawrence Erlbaum.
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         frontal dysfunction. Brain and Cognition, 34, 189–206.
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65. Pilkington, N. W., & Cantor, J. M. (1996). Perceptions of heterosexual bias in professional
         psychology programs: A survey of graduate students. Professional Psychology:
         Research and Practice, 27, 604–612.




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                                       PUBLICATIONS

LETTERS AND COMMENTARIES
1.  Cantor, J. M. (2015). Research methods, statistical analysis, and the phallometric test for
        hebephilia: Response to Fedoroff [Editorial Commentary]. Journal of Sexual Medicine,
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2. Cantor, J. M. (2015). In his own words: Response to Moser [Editorial Commentary].
        Journal of Sexual Medicine, 12, 2502–2503. doi: 10.1111/jsm.13075
3. Cantor, J. M. (2015). Purported changes in pedophilia as statistical artefacts: Comment on
        Müller et al. (2014). Archives of Sexual Behavior, 44, 253–254. doi: 10.1007/s10508-
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4. McPhail, I. V., & Cantor, J. M. (2015). Pedophilia, height, and the magnitude of the
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5. Soh, D. W., & Cantor, J. M. (2015). A peek inside a furry convention [Letter to the Editor].
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6. Cantor, J. M. (2012). Reply to Italiano’s (2012) comment on Cantor (2011) [Letter to the
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8. Cantor, J. M., & Blanchard, R. (2012). White matter volumes in pedophiles, hebephiles, and
        teleiophiles [Letter to the Editor]. Archives of Sexual Behavior, 41, 749–752. doi:
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9. Cantor, J. M. (2011). New MRI studies support the Blanchard typology of male-to-female
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11. Cantor, J. M. (2003, Summer). Review of the book The Man Who Would Be Queen by J.
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12. Cantor, J. M. (2003, Spring). What are the hot topics in LGBT research in psychology?
        Newsletter of Division 44 of the American Psychological Association, 19(1), 21–24.
13. Cantor, J. M. (2002, Fall). Male homosexuality, science, and pedophilia. Newsletter of
        Division 44 of the American Psychological Association, 18(3), 5–8.
14. Cantor, J. M. (2000). Review of the book Sexual Addiction: An Integrated Approach.
        Journal of Sex and Marital Therapy, 26, 107–109.


EDITORIALS
1.    Cantor, J. M. (2012). Editorial. Sexual Abuse: A Journal of Research and Treatment, 24.



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        23, 414.
3. Barbaree, H. E., & Cantor, J. M. (2010). Performance indicates for Sexual Abuse: A Journal
        of Research and Treatment (SAJRT) [Editorial]. Sexual Abuse: A Journal of Research
        and Treatment, 22, 371–373.
4. Barbaree, H. E., & Cantor, J. M. (2009). Sexual Abuse: A Journal of Research and
        Treatment performance indicators for 2007 [Editorial]. Sexual Abuse: A Journal of
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5. Zucker, K. J., & Cantor, J. M. (2009). Cruising: Impact factor data [Editorial]. Archives of
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10. Zucker, K., & Cantor, J. M. (2003). The numbers game: The impact factor and all that jazz
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                                    FUNDING HISTORY

Principal Investigators:   Doug VanderLaan, Meng-Chuan Lai
Co-Investigators:          James M. Cantor, Megha Mallar Chakravarty, Nancy Lobaugh, M.
                           Palmert, M. Skorska
Title:                     Brain function and connectomics following sex hormone treatment in
                           adolescents experience gender dysphoria
Agency:                    Canadian Institutes of Health Research (CIHR),
                           Behavioural Sciences-B-2
Funds:                     $650,250 / 5 years (July, 2018)

Principal Investigator:    Michael C. Seto
Co-Investigators:          Martin Lalumière , James M. Cantor
Title:                     Are connectivity differences unique to pedophilia?
Agency:                    University Medical Research Fund, Royal Ottawa Hospital
Funds:                     $50,000 / 1 year (January, 2018)

Principal Investigator:    Lori Brotto
Co-Investigators:          Anthony Bogaert, James M. Cantor, Gerulf Rieger
Title:                     Investigations into the neural underpinnings and biological correlates
                           of asexuality
Agency:                    Natural Sciences and Engineering Research Council (NSERC),
                           Discovery Grants Program
Funds:                     $195,000 / 5 years (April, 2017)

Principal Investigator:    Doug VanderLaan
Co-Investigators:          Jerald Bain, James M. Cantor, Megha Mallar Chakravarty, Sofia
                           Chavez, Nancy Lobaugh, and Kenneth J. Zucker
Title:                     Effects of sex hormone treatment on brain development: A magnetic
                           resonance imaging study of adolescents with gender dysphoria
Agency:                    Canadian Institutes of Health Research (CIHR),
                           Transitional Open Grant Program
Funds:                     $952,955 / 5 years (September, 2015)

Principal Investigator:    James M. Cantor
Co-Investigators:          Howard E. Barbaree, Ray Blanchard, Robert Dickey, Todd A. Girard,
                           Phillip E. Klassen, and David J. Mikulis
Title:                     Neuroanatomic features specific to pedophilia
Agency:                    Canadian Institutes of Health Research (CIHR)
Funds:                     $1,071,920 / 5 years (October, 2008)

Principal Investigator:    James M. Cantor
Title:                     A preliminary study of fMRI as a diagnostic test of pedophilia
Agency:                    Dean of Medicine New Faculty Grant Competition, Univ. of Toronto
Funds:                     $10,000 (July, 2008)




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Principal Investigator:   James M. Cantor
Co-Investigator:          Ray Blanchard
Title:                    Morphological and neuropsychological correlates of pedophilia
Agency:                   Canadian Institutes of Health Research (CIHR)
Funds:                    $196,902 / 3 years (April, 2006)




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                        KEYNOTE AND INVITED ADDRESSES

1.  Cantor, J. M. (2022, December 5). The science of gender dysphoria and transgenderism.
       Lund University, Latvia. https://files.fm/f/4bzznufvb
2. Cantor, J. M. (2021, September 28). No topic too tough for this expert panel: A year in
       review. Plenary Session for the 40th Annual Research and Treatment Conference,
       Association for the Treatment of Sexual Abusers.
3. Cantor, J. M. (2019, May 1). Introduction and Q&A for ‘I, Pedophile.’ StopSO 2nd Annual
       Conference, London, UK.
4. Cantor, J. M. (2018, August 29). Neurobiology of pedophilia or paraphilia? Towards a
       ‘Grand Unified Theory’ of sexual interests. Keynote address to the International
       Association for the Treatment of Sexual Offenders, Vilnius, Lithuania.
5. Cantor, J. M. (2018, August 29). Pedophilia and the brain: Three questions asked and
       answered. Preconference training presented to the International Association for the
       Treatment of Sexual Offenders, Vilnius, Lithuania.
6. Cantor, J. M. (2018, April 13). The responses to I, Pedophile from We, the people. Keynote
       address to the Minnesota Association for the Treatment of Sexual Abusers, Minneapolis,
       Minnesota.
7. Cantor, J. M. (2018, April 11). Studying atypical sexualities: From vanilla to I, Pedophile.
       Full day workshop at the Minnesota Association for the Treatment of Sexual Abusers,
       Minneapolis, Minnesota.
8. Cantor, J. M. (2018, January 20). How much sex is enough for a happy life? Invited lecture
       to the University of Toronto Division of Urology Men’s Health Summit, Toronto,
       Canada.
9. Cantor, J. M. (2017, November 2). Pedophilia as a phenomenon of the brain: Update of
       evidence and the public response. Invited presentation to the 7th annual SBC education
       event, Centre for Addiction and Mental Health, Toronto, Canada.
10. Cantor, J. M. (2017, June 9). Pedophilia being in the brain: The evidence and the public’s
       reaction. Invited presentation to SEXposium at the ROM: The science of love and sex,
       Toronto, Canada.
11. Cantor, J. M., & Campea, M. (2017, April 20). “I, Pedophile” showing and discussion.
       Invited presentation to the 42nd annual meeting of the Society for Sex Therapy and
       Research, Montréal, Canada.
12. Cantor, J. M. (2017, March 1). Functional and structural neuroimaging of pedophilia:
       Consistencies across methods and modalities. Invited lecture to the Brain Imaging
       Centre, Royal Ottawa Hospital, Ottawa, Canada.
13. Cantor, J. M. (2017, January 26). Pedophilia being in the brain: The evidence and the public
       reaction. Inaugural keynote address to the University of Toronto Sexuality Interest
       Network, Toronto, Ontario, Canada.
14. Cantor, J. M. (2016, October 14). Discussion of CBC’s “I, Pedophile.” Office of the
       Children’s Lawyer Educational Session, Toronto, Ontario, Canada.
15. Cantor, J. M. (2016, September 15). Evaluating the risk to reoffend: What we know and
       what we don’t. Invited lecture to the Association of Ontario Judges, Ontario Court of
       Justice Annual Family Law Program, Blue Mountains, Ontario, Canada. [Private link
       only: https://vimeo.com/239131108/3387c80652]
16. Cantor, J. M. (2016, April 8). Pedophilia and the brain: Conclusions from the second


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       generation of research. Invited lecture at the 10th annual Risk and Recovery Forensic
       Conference, Hamilton, Ontario.
17. Cantor, J. M. (2016, April 7). Hypersexuality without the hyperbole. Keynote address to the
       10th annual Risk and Recovery Forensic Conference, Hamilton, Ontario.
18. Cantor, J. M. (2015, November). No one asks to be sexually attracted to children: Living in
       Daniel’s World. Grand Rounds, Centre for Addiction and Mental Health. Toronto,
       Canada.
19. Cantor, J. M. (2015, August). Hypersexuality: Getting past whether “it” is or “it” isn’t.
       Invited address at the 41st annual meeting of the International Academy of Sex Research.
       Toronto, Canada.
20. Cantor, J. M. (2015, July). A unified theory of typical and atypical sexual interest in men:
       Paraphilia, hypersexuality, asexuality, and vanilla as outcomes of a single, dual
       opponent process. Invited presentation to the 2015 Puzzles of Sexual Orientation
       conference, Lethbridge, AL, Canada.
21. Cantor, J. M. (2015, June). Hypersexuality. Keynote Address to the Ontario Problem
       Gambling Provincial Forum. Toronto, Canada.
22. Cantor, J. M. (2015, May). Assessment of pedophilia: Past, present, future. Keynote
       Address to the International Symposium on Neural Mechanisms Underlying Pedophilia
       and Child Sexual Abuse (NeMUP). Berlin, Germany.
23. Cantor, J. M. (2015, March). Prevention of sexual abuse by tackling the biggest stigma of
       them all: Making sex therapy available to pedophiles. Keynote address to the 40th annual
       meeting of the Society for Sex Therapy and Research, Boston, MA.
24. Cantor, J. M. (2015, March. Pedophilia: Predisposition or perversion? Panel discussion at
       Columbia University School of Journalism. New York, NY.
25. Cantor, J. M. (2015, February). Hypersexuality. Research Day Grand Rounds presentation
       to Ontario Shores Centre for Mental Health Sciences, Whitby, Ontario, Canada.
26. Cantor, J. M. (2015, January). Brain research and pedophilia: What it means for
       assessment, research, and policy. Keynote address to the inaugural meeting of the
       Netherlands Association for the Treatment of Sexual Abusers, Utrecht, Netherlands.
27. Cantor, J. M. (2014, December). Understanding pedophilia and the brain: Implications for
       safety and society. Keynote address for The Jewish Community Confronts Violence and
       Abuse: Crisis Centre for Religious Women, Jerusalem, Israel.
28. Cantor, J. M. (2014, October). Understanding pedophilia & the brain. Invited full-day
       workshop for the Sex Offender Assessment Board of Pennsylvania, Harrisburg, PA.
29. Cantor, J. M. (2014, September). Understanding neuroimaging of pedophilia: Current
       status and implications. Invited lecture presented to the Mental Health and Addition
       Rounds, St. Joseph’s Healthcare, Hamilton, Ontario, Canada.
30. Cantor, J. M. (2014, June). An evening with Dr. James Cantor. Invited lecture presented to
       the Ontario Medical Association, District 11 Doctors’ Lounge Program, Toronto,
       Ontario, Canada.
31. Cantor, J. M. (2014, April). Pedophilia and the brain. Invited lecture presented to the
       University of Toronto Medical Students lunchtime lecture. Toronto, Ontario, Canada.
32. Cantor, J. M. (2014, February). Pedophilia and the brain: Recap and update. Workshop
       presented at the 2014 annual meeting of the Washington State Association for the
       Treatment of Sexual Abusers, Cle Elum, WA.



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33. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
       (2014, February). Functional connectivity in pedophilia. Neuropsychiatry Rounds,
       Toronto Western Hospital, Toronto, Ontario, Canada.
34. Cantor, J. M. (2013, November). Understanding pedophilia and the brain: The basics, the
       current status, and their implications. Invited lecture to the Forensic Psychology
       Research Centre, Carleton University, Ottawa, Canada.
35. Cantor, J. M. (2013, November). Mistaking puberty, mistaking hebephilia. Keynote address
       presented to the 32nd annual meeting of the Association for the Treatment of Sexual
       Abusers, Chicago, IL.
36. Cantor, J. M. (2013, October). Understanding pedophilia and the brain: A recap and
       update. Invited workshop presented at the 32nd annual meeting of the Association for
       the Treatment of Sexual Abusers, Chicago, IL.
37. Cantor, J. M. (2013, October). Compulsive-hyper-sex-addiction: I don’t care what we all it,
       what can we do? Invited address presented to the Board of Examiners of Sex Therapists
       and Counselors of Ontario, Toronto, Ontario, Canada.
38. Cantor, J. M. (2013, September). Neuroimaging of pedophilia: Current status and
       implications. McGill University Health Centre, Department of Psychiatry Grand Rounds
       presentation, Montréal, Québec, Canada.
39. Cantor, J. M. (2013, April). Understanding pedophilia and the brain. Invited workshop
       presented at the 2013 meeting of the Minnesota Association for the Treatment of Sexual
       Abusers, Minneapolis, MN.
40. Cantor, J. M. (2013, April). The neurobiology of pedophilia and its implications for
       assessment, treatment, and public policy. Invited lecture at the 38th annual meeting of
       the Society for Sex Therapy and Research, Baltimore, MD.
41. Cantor, J. M. (2013, April). Sex offenders: Relating research to policy. Invited roundtable
       presentation at the annual meeting of the Academy of Criminal Justice Sciences, Dallas,
       TX.
42. Cantor, J. M. (2013, March). Pedophilia and brain research: From the basics to the state-
       of-the-art. Invited workshop presented to the annual meeting of the Forensic Mental
       Health Association of California, Monterey, CA.
43. Cantor, J. M. (2013, January). Pedophilia and child molestation. Invited lecture presented
       to the Canadian Border Services Agency, Toronto, Ontario, Canada.
44. Cantor, J. M. (2012, November). Understanding pedophilia and sexual offenders against
       children: Neuroimaging and its implications for public safety. Invited guest lecture to
       University of New Mexico School of Medicine Health Sciences Center, Albuquerque,
       NM.
45. Cantor, J. M. (2012, November). Pedophilia and brain research. Invited guest lecture to the
       annual meeting of the Circles of Support and Accountability, Toronto, Ontario, Canada.
46. Cantor, J. M. (2012, January). Current findings on pedophilia brain research. Invited
       workshop at the San Diego International Conference on Child and Family Maltreatment,
       San Diego, CA.
47. Cantor, J. M. (2012, January). Pedophilia and the risk to re-offend. Invited lecture to the
       Ontario Court of Justice Judicial Development Institute, Toronto, Ontario, Canada.
48. Cantor, J. M. (2011, November). Pedophilia and the brain: What it means for assessment,
       treatment, and policy. Plenary Lecture presented at the Association for the Treatment of
       Sexual Abusers, Toronto, Ontario, Canada.


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49. Cantor, J. M. (2011, July). Towards understanding contradictory findings in the
       neuroimaging of pedophilic men. Keynote address to 7th annual conference on Research
       in Forensic Psychiatry, Regensberg, Germany.
50. Cantor, J. M. (2011, March). Understanding sexual offending and the brain: Brain basics to
       the state of the art. Workshop presented at the winter conference of the Oregon
       Association for the Treatment of Sexual Abusers, Oregon City, OR.
51. Cantor, J. M. (2010, October). Manuscript publishing for students. Workshop presented at
       the 29th annual meeting of the Association for the Treatment of Sexual Abusers,
       Phoenix, AZ.
52. Cantor, J. M. (2010, August). Is sexual orientation a paraphilia? Invited lecture at the
       International Behavioral Development Symposium, Lethbridge, Alberta, Canada.
53. Cantor, J. M. (2010, March). Understanding sexual offending and the brain: From the
       basics to the state of the art. Workshop presented at the annual meeting of the
       Washington State Association for the Treatment of Sexual Abusers, Blaine, WA.
54. Cantor, J. M. (2009, January). Brain structure and function of pedophilia men.
       Neuropsychiatry Rounds, Toronto Western Hospital, Toronto, Ontario.
55. Cantor, J. M. (2008, April). Is pedophilia caused by brain dysfunction? Invited address to
       the University-wide Science Day Lecture Series, SUNY Oswego, Oswego, NY.
56. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
       Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
       & Blanchard, R. (2006, September). MRIs of pedophilic men. Invited presentation at the
       25th annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
57. Cantor, J. M., Blanchard, R., & Christensen, B. K. (2003, March). Findings in and
       implications of neuropsychology and epidemiology of pedophilia. Invited lecture at the
       28th annual meeting of the Society for Sex Therapy and Research, Miami.
58. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, July).
       Neuropsychological functioning in pedophiles. Invited lecture presented at the 27th
       annual meeting of the International Academy of Sex Research, Bromont, Canada.
59. Cantor, J. M., Blanchard, R., Christensen, B., Klassen, P., & Dickey, R. (2001, February).
       First glance at IQ, memory functioning and handedness in sex offenders. Lecture
       presented at the Forensic Lecture Series, Centre for Addiction and Mental Health,
       Toronto, Ontario, Canada.
60. Cantor, J. M. (1999, November). Reversal of SSRI-induced male sexual dysfunction:
       Suggestions from an animal model. Grand Rounds presentation at the Allan Memorial
       Institute, Royal Victoria Hospital, Montréal, Canada.




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                     PAPER PRESENTATIONS AND SYMPOSIA

1.  Cantor, J. M. (2020, April). “I’d rather have a trans kid than a dead kid”: Critical assessment
        of reported rates of suicidality in trans kids. Paper presented at the annual meeting of
        the Society for the Sex Therapy and Research. Online in lieu of in person meeting.
2. Stephens, S., Lalumière, M., Seto, M. C., & Cantor, J. M. (2017, October). The relationship
        between sexual responsiveness and sexual exclusivity in phallometric profiles. Paper
        presented at the annual meeting of the Canadian Sex Research Forum, Fredericton,
        New Brunswick, Canada.
3. Stephens, S., Cantor, J. M., & Seto, M. C. (2017, March). Can the SSPI-2 detect hebephilic
        sexual interest? Paper presented at the annual meeting of the American-Psychology
        Law Society Annual Meeting, Seattle, WA.
4. Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October). Victim choice
        polymorphism and recidivism. Symposium Presentation. Paper presented at the 34th
        annual meeting of the Association for the Treatment of Sexual Abusers, Montréal,
        Canada.
5. McPhail, I. V., Hermann, C. A., Fernane, S. Fernandez, Y., Cantor, J. M., & Nunes, K. L.
        (2014, October). Sexual deviance in sexual offenders against children: A meta-analytic
        review of phallometric research. Paper presented at the 33rd annual meeting of the
        Association for the Treatment of Sexual Abusers, San Diego, CA.
6. Stephens, S., Seto, M. C., Cantor, J. M., & Goodwill, A. M. (2014, October). Is hebephilic
        sexual interest a criminogenic need?: A large scale recidivism study. Paper presented
        at the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
        Diego, CA.
7. Stephens, S., Seto, M. C., Cantor, J. M., & Lalumière, M. (2014, October). Development
        and validation of the Revised Screening Scale for Pedophilic Interests (SSPI–2). Paper
        presented at the 33rd annual meeting of the Association for the Treatment of Sexual
        Abusers, San Diego, CA.
8. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
        (2014, September). Pedophilia and the brain: White matter differences detected with
        DTI. Paper presented at the 13th annual meeting of the International Association for the
        Treatment of Sexual Abusers, Porto, Portugal.
9. Stephens, S., Seto, M., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2014, March). The
        role of hebephilic sexual interests in sexual victim choice. Paper presented at the annual
        meeting of the American Psychology and Law Society, New Orleans, LA.
10. McPhail, I. V., Fernane, S. A., Hermann, C. A., Fernandez, Y. M., Nunes, K. L., & Cantor,
        J. M. (2013, November). Sexual deviance and sexual recidivism in sexual offenders
        against children: A meta-analysis. Paper presented at the 32nd annual meeting of the
        Association for the Treatment of Sexual Abusers, Chicago, IL.
11. Cantor, J. M. (2013, September). Pedophilia and the brain: Current MRI research and its
        implications. Paper presented at the 21st annual World Congress for Sexual Health,
        Porto Alegre, Brazil. [Featured among Best Abstracts, top 10 of 500.]
12. Cantor, J. M. (Chair). (2012, March). Innovations in sex research. Symposium conducted at
        the 37th annual meeting of the Society for Sex Therapy and Research, Chicago.
13. Cantor, J. M., & Blanchard, R. (2011, August). fMRI versus phallometry in the diagnosis of
        pedophilia and hebephilia. In J. M. Cantor (Chair), Neuroimaging of men’s object


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        preferences. Symposium presented at the 37th annual meeting of the International
        Academy of Sex Research, Los Angeles, USA.
14. Cantor, J. M. (Chair). (2011, August). Neuroimaging of men’s object preferences.
        Symposium conducted at the 37th annual meeting of the International Academy of Sex
        Research, Los Angeles.
15. Cantor, J. M. (2010, October). A meta-analysis of neuroimaging studies of male sexual
        arousal. In S. Stolerú (Chair), Brain processing of sexual stimuli in pedophilia: An
        application of functional neuroimaging. Symposium presented at the 29th annual
        meeting of the Association for the Treatment of Sexual Abusers, Phoenix, AZ.
16. Chivers, M. L., Seto, M. C., Cantor, J. C., Grimbos, T., & Roy, C. (April, 2010).
        Psychophysiological assessment of sexual activity preferences in women. Paper
        presented at the 35th annual meeting of the Society for Sex Therapy and Research,
        Boston, USA.
17. Cantor, J. M., Girard, T. A., & Lovett-Barron, M. (2008, November). The brain regions that
        respond to erotica: Sexual neuroscience for dummies. Paper presented at the 51st
        annual meeting of the Society for the Scientific Study of Sexuality, San Juan, Puerto
        Rico.
18. Barbaree, H., Langton, C., Blanchard, R., & Cantor, J. M. (2007, October). The role of age-
        at-release in the evaluation of recidivism risk of sexual offenders. Paper presented at
        the 26th annual meetingof the Association for the Treatment of Sexual Abusers, San
        Diego.
19. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
        Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
        & Blanchard, R. (2006, July). Pedophilia and brain morphology. Abstract and paper
        presented at the 32nd annual meeting of the International Academy of Sex Research,
        Amsterdam, Netherlands.
20. Seto, M. C., Cantor, J. M., & Blanchard, R. (2006, March). Child pornography offending is
        a diagnostic indicator of pedophilia. Paper presented at the 2006 annual meeting of the
        American Psychology-Law Society Conference, St. Petersburg, Florida.
21. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove, S. M., & Ellis, L. (2005, August).
        Interaction of fraternal birth order and handedness in the development of male
        homosexuality. Abstract and paper presented at the International Behavioral
        Development Symposium, Minot, North Dakota.
22. Cantor, J. M., & Blanchard, R. (2005, July). Quantitative reanalysis of aggregate data on
        IQ in sexual offenders. Abstract and poster presented at the 31st annual meeting of the
        International Academy of Sex Research, Ottawa, Canada.
23. Cantor, J. M. (2003, August). Sex reassignment on demand: The clinician’s dilemma. Paper
        presented at the 111th annual meeting of the American Psychological Association,
        Toronto, Canada.
24. Cantor, J. M. (2003, June). Meta-analysis of VIQ–PIQ differences in male sex offenders.
        Paper presented at the Harvey Stancer Research Day, Toronto, Ontario, Canada.
25. Cantor, J. M. (2002, August). Gender role in autogynephilic transsexuals: The more things
        change… Paper presented at the 110th annual meeting of the American Psychological
        Association, Chicago.




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26. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, June).
        IQ, memory functioning, and handedness in male sex offenders. Paper presented at the
        Harvey Stancer Research Day, Toronto, Ontario, Canada.
27. Cantor, J. M. (1998, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 106th annual meeting of the American Psychological
        Association.
28. Cantor, J. M. (1997, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 105th annual meeting of the American Psychological Association.
29. Cantor, J. M. (1997, August). Convention orientation for lesbian, gay, and bisexual
        students. Paper presented at the 105th annual meeting of the American Psychological
        Association.
30. Cantor, J. M. (1996, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 104th annual meeting of the American Psychological Association.
31. Cantor, J. M. (1996, August). Symposium: Question of inclusion: Lesbian and gay
        psychologists and accreditation. Paper presented at the 104th annual meeting of the
        American Psychological Association, Toronto.
32. Cantor, J. M. (1996, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 104th annual meeting of the American Psychological
        Association.
33. Cantor, J. M. (1995, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 103rd annual meeting of the American Psychological Association.
34. Cantor, J. M. (1995, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 103rd annual meeting of the American Psychological
        Association.
35. Cantor, J. M. (1994, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 102nd annual meeting of the American Psychological Association.
36. Cantor, J. M. (1994, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 102nd annual meeting of the American Psychological
        Association.
37. Cantor, J. M., & Pilkington, N. W. (1992, August). Homophobia in psychology programs: A
        survey of graduate students. Paper presented at the Centennial Convention of the
        American Psychological Association, Washington, DC. (ERIC Document Reproduction
        Service No. ED 351 618)
38. Cantor, J. M. (1991, August). Being gay and being a graduate student: Double the
        memberships, four times the problems. Paper presented at the 99th annual meeting of
        the American Psychological Association, San Francisco.




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                               POSTER PRESENTATIONS

1.  Klein, L., Stephens, S., Goodwill, A. M., Cantor, J. M., & Seto, M. C. (2015, October). The
        psychological propensities of risk in undetected sexual offenders. Poster presented at
        the 34th annual meeting of the Association for the Treatment of Sexual Abusers,
        Montréal, Canada.
2. Pullman, L. E., Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October).
        Why are incest offenders less likely to recidivate? Poster presented at the 34th annual
        meeting of the Association for the Treatment of Sexual Abusers, Montréal, Canada.
3. Seto, M. C., Stephens, S. M., Cantor, J. M., Lalumiere, M. L., Sandler, J. C., & Freeman, N.
        A. (2015, August). The development and validation of the Revised Screening Scale for
        Pedophilic Interests (SSPI-2). Poster presentation at the 41st annual meeting of the
        International Academy of Sex Research. Toronto, Canada.
4. Soh, D. W., & Cantor, J. M. (2015, August). A peek inside a furry convention. Poster
        presentation at the 41st annual meeting of the International Academy of Sex Research.
        Toronto, Canada.
5. VanderLaan, D. P., Lobaugh, N. J., Chakravarty, M. M., Patel, R., Chavez, S. Stojanovski,
        S. O., Takagi, A., Hughes, S. K., Wasserman, L., Bain, J., Cantor, J. M., & Zucker, K.
        J. (2015, August). The neurohormonal hypothesis of gender dysphoria: Preliminary
        evidence of cortical surface area differences in adolescent natal females. Poster
        presentation at the 31st annual meeting of the International Academy of Sex Research.
        Toronto, Canada.
6. Cantor, J. M., Lafaille, S. J., Moayedi, M., Mikulis, D. M., & Girard, T. A. (2015, June).
        Diffusion tensor imaging (DTI) of the brain in pedohebephilic men: Preliminary
        analyses. Harvey Stancer Research Day, Toronto, Ontario Canada.
7. Newman, J. E., Stephens, S., Seto, M. C., & Cantor, J. M. (2014, October). The validity of
        the Static-99 in sexual offenders with low intellectual abilities. Poster presentation at
        the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
        Diego, CA.
8. Lykins, A. D., Walton, M. T., & Cantor, J. M. (2014, June). An online assessment of
        personality, psychological, and sexuality trait variables associated with self-reported
        hypersexual behavior. Poster presentation at the 30th annual meeting of the
        International Academy of Sex Research, Dubrovnik, Croatia.
9. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, November).
        The utility of phallometry in the assessment of hebephilia. Poster presented at the 32nd
        annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
10. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, October).
        The role of hebephilic sexual interests in sexual victim choice. Poster presented at the
        32nd annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
11. Fazio, R. L., & Cantor, J. M. (2013, October). Analysis of the Fazio Laterality Inventory
        (FLI) in a population with established atypical handedness. Poster presented at the 33rd
        annual meeting of the National Academy of Neuropsychology, San Diego.
12. Lafaille, S., Hannah, J., Soh, D., Kucyi, A., Girard, T. A., Mikulis, D. M., & Cantor, J. M.
        (2013, August). Investigating resting state networks in pedohebephiles. Poster
        presented at the 29th annual meeting of the International Academy of Sex Research,
        Chicago.


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13. McPhail, I. V., Lykins, A. D., Robinson, J. J., LeBlanc, S., & Cantor, J. M. (2013, August).
         Effects of prescription medication on volumetric phallometry output. Poster presented
         at the 29th annual meeting of the International Academy of Sex Research, Chicago.
14. Murray, M. E., Dyshniku, F., Fazio, R. L., & Cantor, J. M. (2013, August). Minor physical
         anomalies as a window into the prenatal origins of pedophilia. Poster presented at the
         29th annual meeting of the International Academy of Sex Research, Chicago.
15. Sutton, K. S., Stephens, S., Dyshniku, F., Tulloch, T., & Cantor, J. M. (2013, August). Pilot
         group treatment for “procrasturbation.” Poster presented at 39th annual meeting of the
         International Academy of Sex Research, Chicago.
16. Sutton, K. S., Pytyck, J., Stratton, N., Sylva, D., Kolla, N., & Cantor, J. M. (2013, August).
         Client characteristics by type of hypersexuality referral: A quantitative chart review.
         Poster presented at the 39th annual meeting of the International Academy of Sex
         Research, Chicago.
17. Fazio, R. L., & Cantor, J. M. (2013, June). A replication and extension of the psychometric
         properties of the Digit Vigilance Test. Poster presented at the 11th annual meeting of the
         American Academy of Clinical Neuropsychology, Chicago.
18. Lafaille, S., Moayedi, M., Mikulis, D. M., Girard, T. A., Kuban, M., Blak, T., & Cantor, J.
         M. (2012, July). Diffusion Tensor Imaging (DTI) of the brain in pedohebephilic men:
         Preliminary analyses. Poster presented at the 38th annual meeting of the International
         Academy of Sex Research, Lisbon, Portugal.
19. Lykins, A. D., Cantor, J. M., Kuban, M. E., Blak, T., Dickey, R., Klassen, P. E., &
         Blanchard, R. (2010, July). Sexual arousal to female children in gynephilic men. Poster
         presented at the 38th annual meeting of the International Academy of Sex Research,
         Prague, Czech Republic.
20. Cantor, J. M., Girard, T. A., Lovett-Barron, M., & Blak, T. (2008, July). Brain regions
         responding to visual sexual stimuli: Meta-analysis of PET and fMRI studies. Abstract
         and poster presented at the 34th annual meeting of the International Academy of Sex
         Research, Leuven, Belgium.
21. Lykins, A. D., Blanchard, R., Cantor, J. M., Blak, T., & Kuban, M. E. (2008, July).
         Diagnosing sexual attraction to children: Considerations for DSM-V. Poster presented
         at the 34th annual meeting of the International Academy of Sex Research, Leuven,
         Belgium.
22. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
         October). Physical height in pedophilia and hebephilia. Poster presented at the 26th
         annual meeting of the Association for the Treatment of Sexual Abusers, San Diego.
23. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
         August). Physical height in pedophilia and hebephilia. Abstract and poster presented at
         the 33rd annual meeting of the International Academy of Sex Research, Vancouver,
         Canada.
24. Puts, D. A., Blanchard, R., Cardenas, R., Cantor, J., Jordan, C. L., & Breedlove, S. M.
         (2007, August). Earlier puberty predicts superior performance on male-biased
         visuospatial tasks in men but not women. Abstract and poster presented at the 33rd
         annual meeting of the International Academy of Sex Research, Vancouver, Canada.
25. Seto, M. C., Cantor, J. M., & Blanchard, R. (2005, November). Possession of child
         pornography is a diagnostic indicator of pedophilia. Poster presented at the 24th annual
         meeting of the Association for the Treatment of Sexual Abusers, New Orleans.



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26. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove. S. M., & Ellis, L. (2005, July).
        Interaction of fraternal birth order and handedness in the development of male
        homosexuality. Abstract and poster presented at the 31st annual meeting of the
        International Academy of Sex Research, Ottawa, Canada.
27. Cantor, J. M., & Blanchard, R. (2003, July). The reported VIQ–PIQ differences in male sex
        offenders are artifactual? Abstract and poster presented at the 29th annual meeting of
        the International Academy of Sex Research, Bloomington, Indiana.
28. Christensen, B. K., Cantor, J. M., Millikin, C., & Blanchard, R. (2002, February). Factor
        analysis of two brief memory tests: Preliminary evidence for modality-specific
        measurement. Poster presented at the 30th annual meeting of the International
        Neuropsychological Society, Toronto, Ontario, Canada.
29. Cantor, J. M., Blanchard, R., Paterson, A., Bogaert, A. (2000, June). How many gay men
        owe their sexual orientation to fraternal birth order? Abstract and poster presented at
        the International Behavioral Development Symposium, Minot, North Dakota.
30. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, November). Fluoxetine inhibition of male rat
        sexual behavior: Reversal by oxytocin. Poster presented at the 26th annual meeting of
        the Society for Neurosciences, Washington, DC.
31. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, June). An animal model of fluoxetine-induced
        sexual dysfunction: Dose dependence and time course. Poster presented at the 28th
        annual Conference on Reproductive Behavior, Montréal, Canada.
32. Cantor, J. M., O’Connor, M. G., Kaplan, B., & Cermak, L. S. (1993, June). Transient events
        test of retrograde memory: Performance of amnestic and unimpaired populations.
        Poster presented at the 2nd annual science symposium of the Massachusetts
        Neuropsychological Society, Cambridge, MA.




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                 EDITORIAL AND PEER-REVIEWING ACTIVITIES

Editor-in-Chief
Sexual Abuse: A Journal of Research and Treatment                   Jan., 2010–Dec., 2014


Editorial Board Memberships
Journal of Sexual Aggression                                        Jan., 2010–Dec., 2021
Journal of Sex Research, The                                        Jan., 2008–Aug., 2020
Sexual Abuse: A Journal of Research and Treatment                   Jan., 2006–Dec., 2019
Archives of Sexual Behavior                                         Jan., 2004–Present
The Clinical Psychologist                                           Jan., 2004–Dec., 2005


Ad hoc Journal Reviewer Activity
American Journal of Psychiatry                 Journal of Consulting and Clinical Psychology
Annual Review of Sex Research                  Journal of Forensic Psychology Practice
Archives of General Psychiatry                 Journal for the Scientific Study of Religion
Assessment                                     Journal of Sexual Aggression
Biological Psychiatry                          Journal of Sexual Medicine
BMC Psychiatry                                 Journal of Psychiatric Research
Brain Structure and Function                   Nature Neuroscience
British Journal of Psychiatry                  Neurobiology Reviews
British Medical Journal                        Neuroscience & Biobehavioral Reviews
Canadian Journal of Behavioural Science        Neuroscience Letters
Canadian Journal of Psychiatry                 Proceedings of the Royal Society B
Cerebral Cortex                                   (Biological Sciences)
Clinical Case Studies                          Psychological Assessment
Comprehensive Psychiatry                       Psychological Medicine
Developmental Psychology                       Psychological Science
European Psychologist                          Psychology of Men & Masculinity
Frontiers in Human Neuroscience                Sex Roles
Human Brain Mapping                            Sexual and Marital Therapy
International Journal of Epidemiology          Sexual and Relationship Therapy
International Journal of Impotence Research    Sexuality & Culture
International Journal of Sexual Health         Sexuality Research and Social Policy
International Journal of Transgenderism        The Clinical Psychologist
Journal of Abnormal Psychology                 Traumatology
Journal of Clinical Psychology                 World Journal of Biological Psychiatry




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                              GRANT REVIEW PANELS

2017–2021    Member, College of Reviewers, Canadian Institutes of Health Research, Canada.

2017         Committee Member, Peer Review Committee—Doctoral Research Awards A.
             Canadian Institutes of Health Research, Canada.

2017         Member, International Review Board, Research collaborations on behavioural
             disorders related to violence, neglect, maltreatment and abuse in childhood and
             adolescence. Bundesministerium für Bildung und Forschung [Ministry of
             Education and Research], Germany.

2016         Reviewer. National Science Center [Narodowe Centrum Nauki], Poland.

2016         Committee Member, Peer Review Committee—Doctoral Research Awards A.
             Canadian Institutes of Health Research, Canada.

2015         Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
             Council, Australia.

2015         Reviewer. Czech Science Foundation, Czech Republic.

2015         Reviewer, “Off the beaten track” grant scheme. Volkswagen Foundation,
             Germany.

2015         External Reviewer, Discovery Grants program¾Biological Systems and
             Functions. National Sciences and Engineering Research Council of Canada,
             Canada

2015         Committee Member, Peer Review Committee—Doctoral Research Awards A.
             Canadian Institutes of Health Research, Canada.

2014         Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
             Council, Australia.

2014         External Reviewer, Discovery Grants program¾Biological Systems and
             Functions. National Sciences and Engineering Research Council of Canada,
             Canada.

2014         Panel Member, Dean’s Fund—Clinical Science Panel. University of Toronto
             Faculty of Medicine, Canada.

2014         Committee Member, Peer Review Committee—Doctoral Research Awards A.
             Canadian Institutes of Health Research, Canada.

2013         Panel Member, Grant Miller Cancer Research Grant Panel. University of Toronto
             Faculty of Medicine, Canada.




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2013         Panel Member, Dean of Medicine Fund New Faculty Grant Clinical Science
             Panel. University of Toronto Faculty of Medicine, Canada.

2012         Board Member, International Review Board, Research collaborations on
             behavioural disorders related to violence, neglect, maltreatment and abuse in
             childhood and adolescence (2nd round). Bundesministerium für Bildung und
             Forschung [Ministry of Education and Research], Germany.

2012         External Reviewer, University of Ottawa Medical Research Fund. University of
             Ottawa Department of Psychiatry, Canada.

2012         External Reviewer, Behavioural Sciences—B. Canadian Institutes of Health
             Research, Canada.

2011         Board Member, International Review Board, Research collaborations on
             behavioural disorders related to violence, neglect, maltreatment and abuse in
             childhood and adolescence. Bundesministerium für Bildung und Forschung
             [Ministry of Education and Research], Germany.




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                               TEACHING AND TRAINING
PostDoctoral Research Supervision
Law & Mental Health Program, Centre for Addiction and Mental Health, Toronto, Canada
Dr. Katherine S. Sutton                                                  Sept., 2012–Dec., 2013
Dr. Rachel Fazio                                                         Sept., 2012–Aug., 2013
Dr. Amy Lykins                                                           Sept., 2008–Nov., 2009


Doctoral Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Michael Walton • University of New England, Australia                    Sept., 2017–Aug., 2018
Debra Soh • York University                                               May, 2013–Aug, 2017
Skye Stephens • Ryerson University                                       April, 2012–June, 2016


Masters Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Nicole Cormier • Ryerson University                                         June, 2012–present
Debra Soh • Ryerson University                                           May, 2009–April, 2010


Undergraduate Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Kylie Reale • Ryerson University                                                   Spring, 2014
Jarrett Hannah • University of Rochester                                          Summer, 2013
Michael Humeniuk • University of Toronto                                          Summer, 2012


Clinical Supervision (Doctoral Internship)
Clinical Internship Program, Centre for Addiction and Mental Health, Toronto, Canada
Katherine S. Sutton • Queen’s University                                               2011–2012
David Sylva • Northwestern University                                                  2011–2012
Jordan Rullo • University of Utah                                                      2010–2011
Lea Thaler • University of Nevada, Las Vegas                                           2010–2011
Carolin Klein • University of British Columbia                                         2009–2010
Bobby R. Walling • University of Manitoba                                              2009–2010




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                                TEACHING AND TRAINING
Clinical Supervision (Doctoral- and Masters- level practica)
Centre for Addiction and Mental Health, Toronto, Canada
Tyler Tulloch • Ryerson University                                                   2013–2014
Natalie Stratton • Ryerson University                                              Summer, 2013
Fiona Dyshniku • University of Windsor                                             Summer, 2013
Mackenzie Becker • McMaster University                                             Summer, 2013
Skye Stephens • Ryerson University                                                   2012–2013
Vivian Nyantakyi • Capella University                                                2010–2011
Cailey Hartwick • University of Guelph                                                Fall, 2010
Tricia Teeft • Humber College                                                      Summer, 2010
Allison Reeves • Ontario Institute for Studies in Education/Univ. of Toronto         2009–2010
Helen Bailey • Ryerson University                                                  Summer, 2009
Edna Aryee • Ontario Institute for Studies in Education/Univ. of Toronto             2008–2009
Iryna Ivanova • Ontario Institute for Studies in Education/Univ. of Toronto          2008–2009
Jennifer Robinson • Ontario Institute for Studies in Education/Univ. of Toronto      2008–2009
Zoë Laksman • Adler School of Professional Psychology                                2005–2006
Diana Mandelew • Adler School of Professional Psychology                             2005–2006
Susan Wnuk • York University                                                         2004–2005
Hiten Lad • Adler School of Professional Psychology                                  2004–2005
Natasha Williams • Adler School of Professional Psychology                           2003–2004
Lisa Couperthwaite • Ontario Institute for Studies in Education/Univ. of Toronto     2003–2004
Lori Gray, née Robichaud • University of Windsor                                   Summer, 2003
Sandra Belfry • Ontario Institute for Studies in Education/Univ. of Toronto          2002–2003
Althea Monteiro • York University                                                  Summer, 2002
Samantha Dworsky • York University                                                   2001–2002
Kerry Collins • University of Windsor                                              Summer, 2001
Jennifer Fogarty • Waterloo University                                               2000–2001
Emily Cripps • Waterloo University                                                 Summer, 2000
Lee Beckstead • University of Utah                                                          2000




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                     PROFESSIONAL SOCIETY ACTIVITIES

OFFICES HELD
2018–2019    Local Host. Society for Sex Therapy and Research.
  2015       Member, International Scientific Committee, World Association for Sexual
              Health.
  2015       Member, Program Planning and Conference Committee, Association for the
              Treatment of Sexual Abusers
2012–2013    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
2012–2013    Member, Program Planning and Conference Committee, Association for the
              Treatment of Sexual Abusers
2011–2012    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
2010–2011    Scientific Program Committee, International Academy of Sex Research
2002–2004    Membership Committee • APA Division 12 (Clinical Psychology)
2002–2003    Chair, Committee on Science Issues, APA Division 44
  2002       Observer, Grant Review Committee • Canadian Institutes of Health Research
              Behavioural Sciences (B)
2001–2009    Reviewer • APA Division 44 Convention Program Committee
2001, 2002   Reviewer • APA Malyon-Smith Scholarship Committee
2000–2005    Task Force on Transgender Issues, APA Division 44
1998–1999    Consultant, APA Board of Directors Working Group on Psychology Marketplace
  1997       Student Representative • APA Board of Professional Affairs’ Institute on
              TeleHealth
1997–1998    Founder and Chair • APA/APAGS Task Force on New Psychologists’ Concerns
1997–1999    Student Representative • APA/CAPP Sub-Committee for a National Strategy for
              Prescription Privileges
1997–1999    Liaison • APA Committee for the Advancement of Professional Practice
1997–1998    Liaison • APA Board of Professional Affairs
1993–1997    Founder and Chair • APA/APAGS Committee on LGB Concerns




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                       PROFESSIONAL SOCIETY ACTIVITIES

MEMBERSHIPS
2017–2021     Member • Canadian Sex Research Forum
2009–Present Member • Society for Sex Therapy and Research
2007–Present Fellow • Association for the Treatment and Prevention of Sexual Abuse
2006–Present Full Member (elected) • International Academy of Sex Research
2006–Present Research and Clinical Member • Association for the Treatment and Prevention of
              Sexual Abuse
2003–2006     Associate Member (elected) • International Academy of Sex Research
2002          Founding Member • CPA Section on Sexual Orientation and Gender Identity
2001–2013     Member • Canadian Psychological Association (CPA)
2000–2015     Member • American Association for the Advancement of Science
2000–2015     Member • American Psychological Association (APA)
                     APA Division 12 (Clinical Psychology)
                     APA Division 44 (Society for the Psychological Study of LGB Issues)
2000–2020     Member • Society for the Scientific Study of Sexuality
1995–2000     Student Member • Society for the Scientific Study of Sexuality
1993–2000     Student Affiliate • American Psychological Association
1990–1999     Member, American Psychological Association of Graduate Students (APAGS)




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                        CLINICAL LICENSURE/REGISTRATION

Certificate of Registration, Number 3793
College of Psychologists of Ontario, Ontario, Canada



                                 AWARDS AND HONORS

2022 Distinguished Contribution Award
Association for the Treatment and Prevention of Sexual Abuse (ATSA)

2011 Howard E. Barbaree Award for Excellence in Research
Centre for Addiction and Mental Health, Law and Mental Health Program

2004 fMRI Visiting Fellowship Program at Massachusetts General Hospital
American Psychological Association Advanced Training Institute and NIH

1999–2001 CAMH Post-Doctoral Research Fellowship
Centre for Addiction and Mental Health Foundation and Ontario Ministry of Health

1998 Award for Distinguished Contribution by a Student
American Psychological Association, Division 44

1995 Dissertation Research Grant
Society for the Scientific Study of Sexuality

1994–1996 McGill University Doctoral Scholarship

1994 Award for Outstanding Contribution to Undergraduate Teaching
“TA of the Year Award,” from the McGill Psychology Undergraduate Student Association




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                                       MAJOR MEDIA
                             (Complete list available upon request.)

Feature-length Documentaries
Vice Canada Reports. Age of Consent. 14 Jan 2017.
Canadian Broadcasting Company. I, Pedophile. Firsthand documentaries. 10 Mar 2016.

Appearances and Interviews
11 Mar 2020. Ibbitson, John. It is crucial that Parliament gets the conversion-therapy ban right.
       The Globe & Mail.
25 Jan 2020. Ook de hulpvaardige buurman kan verzamelaar van kinderporno zin. De Morgen.
3 Nov 2019. Village of the damned. 60 Minutes Australia.
1 Nov 2019. HÅKON F. HØYDAL. Norsk nettovergriper: – Jeg hater meg selv: Nordmannen
       laster ned overgrepsmateriale fra nettet – og oppfordrer politiet til å gi amnesti for slike
       som ham.
10 Oct 2019. Smith, T. Growing efforts are looking at how—or if—#MeToo offenders can be
       reformed. National Public Radio.
29 Sep 2019. Carey, B. Preying on Children: The Emerging Psychology of Pedophiles. New
       York Times.
29 Apr 2019. Mathieu, Isabelle. La poupée qui a troublé les Terre-Neuviens. La Tribune.
21 Mar 2019. Pope Francis wants psychological testing to prevent problem priests. But can it
       really do that? The Washington Post.
12 Dec 2018. Child sex dolls: Illegal in Canada, and dozens seized at the border. Ontario Today
       with Rita Celli. CBC.
12 Dec 2018. Celli, R. & Harris, K. Dozens of child sex dolls seized by Canadian border agents.
       CBC News.
27 Apr 2018. Rogers, Brook A. The online ‘incel’ culture is real–and dangerous. New York Post.
25 Apr 2018. Yang, J. Number cited in cryptic Facebook post matches Alek Minassian’s military
       ID: Source. Toronto Star.
24 Ap 2018 Understanding ‘incel’. CTV News.
27 Nov 2017. Carey, B. Therapy for Sexual Misconduct? It’s Mostly Unproven. New York
       Times.
14 Nov 2017. Tremonti, A. M. The Current. CBC.
9 Nov2017. Christensen, J. Why men use masturbation to harass women. CNN.
       http://www.cnn.com/2017/11/09/health/masturbation-sexual-harassment/index.html
7 Nov 2017. Nazaryan, A. Why is the alt-right obsessed with pedophilia? Newsweek.
15 Oct 2017. Ouatik, B. Déscouvre. Pédophilie et science. CBC Radio Canada.
12 Oct 2017. Ouatik, B. Peut-on guérir la pédophilie? CBC Radio Canada.
11 Sep 2017. Burns, C. The young paedophiles who say they don’t abuse children. BBC News.
18 Aug 2017. Interview. National Post Radio. Sirius XM Canada.
16 Aug 2017. Blackwell, Tom. Man says he was cured of pedophilia at Ottawa clinic: ‘It’s like a
       weight that’s been lifted’: But skeptics worry about the impact of sending pedophiles into
       the world convinced their curse has been vanquished. National Post.
26 Apr 2017. Zalkind, S. Prep schools hid sex abuse just like the catholic church. VICE.
24 Apr 2017. Sastre, P. Pédophilie: une panique morale jamais n'abolira un crime. Slate France.
12 Feb 2017. Payette, G. Child sex doll trial opens Pandora’s box of questions. CBC News.
26 Nov 2016. Det morke uvettet [“The unknown darkness]”. Fedrelandsvennen.
13 July 2016. Paedophilia: Shedding light on the dark field. The Economist.


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1 Jul 2016. Debusschere, B. Niet iedereen die kinderporno kijkt, is een pedofiel: De mythes rond
        pedofilie ontkracht. De Morgen.
12 Apr 2016. O’Connor, R. Terence Martin: The Tasmanian MP whose medication 'turned him
        into a paedophile'. The Independent.
8 Mar 2016. Bielski, Z. ‘The most viscerally hated group on earth’: Documentary explores how
        intervention can stop pedophiles. The Globe and Mail.
1 Mar 2016. Elmhirst, S. What should we do about paedophiles? The Guardian.
24 Feb 2016. The man whose brain tumour ‘turned him into a paedophile’. The Independent.
24 Nov 2015. Byron, T. The truth about child sex abuse. BBC Two.
20 Aug 2015. The Jared Fogle case: Why we understand so little about abuse. Washington Post.
19 Aug 2015. Blackwell, T. Treat sex offenders for impotence—to keep them out of trouble,
        Canadian psychiatrist says. National Post.
2 Aug 2015. Menendez, J. BBC News Hour. BBC World Service.
13 Jul 2015. The nature of pedophilia. BBC Radio 4.
9 Jul 2015. The sex-offender test: How a computerized assessment can help determine the fate of
        men who’ve been accused of sexually abusing children. The Atlantic.
10 Apr 2015. NWT failed to prevent sex offender from abusing stepdaughter again. CBC News.
10 Feb 2015. Savage, D. “The ethical sadist.” In Savage Love. The Stranger.
31 Jan 2015. Begrip voor/van pedofilie [Understanding pedophilia]. de Volkskrant.
9 Dec 2014. Carey, B. When a rapist’s weapon is a pill. New York Times.
1 Dec 2014. Singal, J. Can virtual reality help pedophiles? New York Magazine.
17 Nov2014. Say pedófile, busco aydua. El Pais.
4 Sep 2014. Born that way? Ideas, with Paul Kennedy. CBC Radio One.
27 Aug 2014. Interrogating the statistics for the prevalence of paedophilia. BBC.
25 Jul 2014. Stephenson, W. The prevalence of paedophilia. BBC World Service.
21 Jul 2014. Hildebrandt, A. Virtuous Pedophiles group gives support therapy cannot. CBC.
26 Jan 2014. Paedophilia a result of faulty wiring, scientists suggest. Daily Mail.
22 Dec 2013. Kane, L. Is pedophilia a sexual orientation? Toronto Star.
21 Jul 2013. Miller, L. The turn-on switch: Fetish theory, post-Freud. New York Magazine.
1 Jul 2013. Morin, H. Pédophilie: la difficile quête d'une origine biologique. Le Monde.
2 Jun 2013. Malcolm, L. The psychology of paedophilia. Australian National Radio.
1 Mar 2013. Kay, J. The mobbing of Tom Flanagan is unwarranted and cruel. National Post.
6 Feb 2013. Boy Scouts board delays vote on lifting ban on gays. L.A. Times.
31 Aug 2012. CNN Newsroom interview with Ashleigh Banfield. CNN.
24 Jun 2012. CNN Newsroom interview with Don Lemon. CNN.




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                            EXPERT WITNESS TESTIMONY

2010
In Re the detention of William G. Dutcher
Case No 08-2-38259-1 SEA
Superior Court, King County, Seattle, WA

2015
State of Florida vs Jon Herb
Case No 11-2013-CF-001958-AXXX-XX

2017
In re Commitment of Nicholas Bauer (Frye Hearing)
Case No. 2-18-0905; Appeal No. 2009-MR-64
Appellate Court of Illinois, Lee County, Second District

U.S. vs. William Hutcheson Leford (Presentencing Hearing)
Case No. 3:16-CR-00012-1
Southern District of Georgia, Dublin Division

2018
NY State Office Mental Health/Dept. of Corrections & Comm Superv vs. Fernando Little
Index# CA2016-002179; RJI No 32-16-7108; Consec No. 290430
Application for discharge from Central NY Psychiatric Center
Utica, New York

2019
John Fitzpatrick v Her Majesty the Queen
Ontario Superior Court of Justice, Canada

Re Commitment of Steven Casper (Frye Hearing)
Case No. 09 MR 135, IDOC No. B23461; DHS No. 887057
Kendall County, Illinois

Re Commitment of Ian Inger (Frye Hearing)
Poughkeepsie, NY

Helen Spiegel v. Keeley Savoie
Docket No HS14D0435 DR
Probate & Family Court, Hampshire Division, Massachusetts

Southern District of New York vs. Peter Bright
Case No. 1:19 Cr -00521 PKC
U.S. District Court, New York, Southern District


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2021
State of Arizona vs Franklin Arnett Clifton
IR# JWID 14-70629; Cr2017-150114-001
Maricopa County, Arizona

B.P.J. v West Virginia
Civil Action No. 2:21-cv-00316
US District Court, Southern District, Charleston Division

Cross, et al. v Loudoun School Board
Case No. CL21-3254
Circuit Court, County of Loudoun, VA

Re Commitment of Michael Hughes (Frye Hearing)
Case No. 10-CR-80013
Circuit Court, Cook County, Chicago, Illinois

In the Matter of Alexander Aurora Cox
Cause number 48C02-215-JC-000143
Madison Circuit Court 2, Indiana

Josephson v University of Kentucky
Case No: 3:19-cv-00230-RGJ
Kentucky Western District, Louisville Division

2022
A.M. v. Indianapolis Public Schools, et al.
Cause No. 1:22-cv-01705-JMS-DLP
U.S. District Court, Southern District of Indiana

Boe et al, USA v Marshall
Civil Action No. 2:22-cv-00184- LCB
U.S. District Court, Middle District of Alabama, Northern Div

Bridge, et al. v Oklahoma State Department of Education, et al.
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Dekker, et al. v Florida Agency for Health Care Admin.
Case 4:22-cv-00325-RH-MAF
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K.C., et al. v. Medical Licensing Board of Indiana, et al.
Case No. 1:23-CV-595
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L.W., et al. v. Skrmetti, et al.
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Koe, et al., v. Noggle, et al.
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Roe, et al., v. Critchfield, et al.
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Montana Fourth Judicial District Court, Missoula County

B.C. College of Nurses and Midwives v Amy HAMM
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TD, et al. v Wrigley, et al.
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